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   5 Attorney for Third Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka
     PETER MARCO EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba
   6 PETER MARCO LLC

   7
                              IN THE UNITED STATES DISTRICT COURT
   8
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DAVID ROVINSKY LLC, a                         USDC # 2:20-cv-02580
  11    Delaware limited liability company,
                                                      CROSS-COMPLAINT FOR:
  12             Plaintiff,
                                                      1.   INTENTIONAL
  13    PETER VOUTSAS aka PETER                            MISREPRESENTATION &
        MARCO aka PETER VOUTSAS, aka                       FRAUD;
  14    PETER MARCO                                   2.   CIVIL THEFT (PENAL
        EXTRAORDINARY JEWELS OF                            CODE, § 496);
  15    BEVERLY HILLS, dba PETER                      3.   EMBEZZLEMENT;
        MARCO LLC,                                    4.   CIVIL CONSPIRACY TO
  16                                                       COMMIT THEFT, FRAUD,
                 Defendants/Third Party Plaintiffs,        AND FRAUD BY
  17                                                       CONCEALMENT;
        vs.                                           5.   CONVERSION;
  18                                                  6.   BREACH OF CONTRACT;
        JONA S. RECHNITZ, an individual;              7.   BREACH OF THE IMPLIED
  19    RACHEL RECHNITZ, an individual;                    COVENANT OF GOOD
        LEVIN PRADO aka LEVON                              FAITH AND FAIR DEALING;
  20    PRADO, an individual,                         8.   ACCOUNT STATED; &
                                                      9.   UNETHICAL BUSINESS
  21                 Third Party Defendants.               PRACTICES IN VIOLATION
                                                           OF CALIFORNIA BUSINESS
  22                                                       & PROFESSIONS CODE §
                                                           17200
  23
                                                      DEMAND FOR A JURY TRIAL
  24
                 Third Party Plaintiffs PETER VOUTSAS aka PETER MARCO aka PETER
  25
       MARCO EXTRAORDINARY JEWELS OF BEVERLY HILLS, dba PETER
  26
       MARCO LLC. (“Marco”) hereby allege the following against Third Party
  27
       Defendants JONA S. RECHNITZ, RACHEL RECHNITZ, LEVIN PRADO aka
  28

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   1   LEVON PRADO, (collectively “Third Party Defendants”) as follows:
   2                        THE PARTIES, JURISDICTION, AND VENUE
   3   1.        Third Party Plaintiff PETER VOUTSAS aka PETER MARCO (“Marco”) is
   4             an individual residing in Los Angeles County, State of California.
   5   2.        Third Party Plaintiff PETER MARCO LLC is a limited liability company
   6             qualified to do business in California qualified to do business in California.
   7             Marco is the managing member of PM-LLC.
   8   3.        Third Party Plaintiff PETER MARCO EXTRAORDINARY JEWELS OF
   9             BEVERLY HILLS is a dba of Marco and PETER MARCO LLC.
  10   4.        All Third Party Plaintiffs are collectively herein referred to as (“Marco”).
  11   5.        Third Party Defendant JONA S. RECHNITZ (“Jona”) is an individual
  12             residing in Los Angeles County, State of California. Jona is also Rachel’s
  13             husband.
  14   6.        Third Party Defendant RACHEL RECHNITZ (“Rachel”) is an individual
  15             residing in Los Angeles County, State of California. Rachel is the managing
  16             member of Jadelle LLC and the Chief Executive Officer for Jadelle Inc.
  17             Rachel is also Jona’s wife.
  18   7.        Jona and Rachel Rechnitz operate a jewelry business through two similarly
  19             named entities, Jadelle Inc. and Jadelle Jewelry and Diamonds, LLC, herein
  20             the Jadelle Entities, whose marque client is the Kardashian family. Both Jona
  21             and Rachel Rechnitz advertise political and powerful celebrity connections to
  22             create a false sense of credibility about themselves and their business,
  23             posting photos on their social media of Kylie Jenner and Kim Kardashian.
  24   8.        The alleged frauds committed by Jona were committed with Rachel’s
  25             knowledge and direction, making her personally liable. Without Rachel
  26             setting up the entities to commit the frauds, Jona lying to steal Marco’s
  27             Consigned Jewelry, none of the below referenced offenses could have
  28

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   1             occurred.
   2   9.        On information and belief, on 4-6-2020, an involuntary chapter 7 bankruptcy
   3             proceeding was filed against Jadelle Jewelry and Diamonds, LLC, a
   4             Delaware limited liability company, Jadelle Jewelry, LLC, and Jadelle Inc., a
   5             California corporation, USBC # 2:20-bk-13530-BR. The petitioning creditors
   6             are: First International Diamond, Inc., with Trade Debt/Damages of
   7             $1,976,225.00, Peter Marco, LLC, with Trade Debt/Damages of
   8             $7,676,744.00 (The correct amount is $6,950,444.40) and Victor Franco
   9             Noval with Trade Debt/Damages of $5,800,000.00, with total petitioners'
  10             claims of $15,452,969.00.1 See, “Corrupt de Blasio donor Jona Rechnitz’s
  11             alleged victims trying to force him into bankruptcy”
  12             (https://nypost.com/2020/04/07/de-blasio-donor-jona-rechnitzs-alleged-victi
  13             ms-trying-to-bankrupt-him/), and “Creditors File Petition to Put Jadelle
  14             Jewelry in Bankruptcy”
  15             (https://www.jckonline.com/editorial-article/jadelle-jewelry-bankruptcy/).
  16   10.       Presently, Third Party Plaintiffs are currently stayed from pursuing the
  17             Jadelle entities in this Court by virtue of the automatic stay of bankruptcy (11
  18             U.S. Code § 362). Marco will be filing claims against the Jadelle entities
  19             debtors in the United States Bankruptcy Court.
  20   11.       Non-party JADELLE JEWELRY AND DIAMONDS, LLC (“Jadelle LLC,”
  21             collectively with Jadelle Inc., the “Jadelle Entities”) (now in an involuntary
  22             bankruptcy) is a Delaware limited liability company qualified to do business
  23             in California. Rachel is the managing member of Jadelle LLC.
  24   12.       Non-party JADELLE JEWELRY, LLC, (“Jadelle LLC,” collectively with
  25

  26         A true and correct copy of the involuntary chapter 7 bankruptcy proceeding In
                 1

     re Jadelle Jewelry and Diamonds, LLC, a Delaware limited liability company, Jadelle
  27 Jewelry, LLC, and Jadelle Inc., a California corporation, USBC # 2:20-bk-13530-BR

  28 is attached as Exhibit “1” and is incorporated herein by this reference.

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   1             Jadelle Inc., the “Jadelle Entities”) (now in an involuntary bankruptcy) is a
   2             California limited liability company qualified to do business in California.
   3             Rachel is the managing member of Jadelle LLC.
   4   13.       Non-party JADELLE INC. (“Jadelle Inc.”) (now in an involuntary
   5             bankruptcy) is a California corporation whose principle office is in Beverly
   6             Hills and whose CEO, CFO, and Secretary is Rachel.
   7   14.       Third Party Defendant LEVIN PRADO AKA LEVON PRADO (“Prado”) is
   8             the agent for service of process, controller, and check signer for the Jadelle
   9             Entities.
  10   15.       The alleged frauds committed by Jona were committed with Rachel’s
  11             knowledge and direction, along with the assistance of Prado, making them
  12             personally liable. Without Rachel setting upon the entities to commit the
  13             frauds, Jona’s lying to steal Marco’s Consigned Jewelry, and Prado signing
  14             the check, none of the below referenced offenses could have occurred.
  15   16.       Upon information and belief, Third Party Plaintiffs believe, that at all times
  16             relevant hereto Third Party Defendants, including but not limited to (the
  17             Jadelle entities) Jona, Rachel, and Prado, formed a civil conspiracy and
  18             engaged in acts in operation and furtherance of that conspiracy.
  19   17.       Third Party Plaintiffs are informed and believe, and so allege, that, at all
  20             times mentioned, each of the Third Party Defendants was the agent, servant,
  21             joint venturer, co-conspirator, and/or employee of some or all of the
  22             remaining Third Party Defendants, and in doing the things hereinafter
  23             alleged, was acting within the course and scope of that relationship and with
  24             the full permission and consent of such Third Party Defendants. Third Party
  25             Plaintiffs are informed and believe, and so allege, that each Third Party
  26             Defendant ratified, approved, and adopted as its own some or all of the acts
  27             of each of the other Third Party Defendants. Third Party Plaintiffs are
  28

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   1             informed and believe, and thereon allege, that each of the Third Party
   2             Defendants materially aided in some or all of the violations of the other Third
   3             Party Defendants.
   4   18.       Third Party Plaintiffs are informed and believe, and so allege, that the Third
   5             Party Defendants are the alter egos of each other and there exists, and at all
   6             relevant times herein there existed, a unity of interest and ownership and
   7             control among the Third Party Defendants, such that any individuality and
   8             separateness among them has ceased to exist, and they are alter egos of each
   9             other, and thus one or more Third Party Defendants’ business is nothing more
  10             than a shell, instrumentality, or conduit through which the remaining Third
  11             Party Defendants carry on certain of their business.
  12   19.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)
  13             because the amount in controversy exceeds $75,000, exclusive of interest and
  14             costs.
  15   20.       Venue in this district is appropriate pursuant to 28 U.S.C. § 1391(b) because
  16             Third Party Defendants reside in this district and a substantial part of the
  17             events giving rise to this action occurred here.
  18   21.       On 3-18-2020 2020, David Rovinsky Inc., filed a complaint against Marco,
  19             Case # 2:20-cv-02580 for negligence, conversion, fraud, negligent
  20             misrepresentation, civil theft (Cal. Penal Code § 496), and aiding and
  21             abetting conversion and civil theft seeking damages of $1,130,000.00.
  22   22.       Pursuant to FRCP 13(g), Third Party Plaintiffs cross-claims against Third
  23             Party Defendants, as they are responsible for the Rovinsky claim.
  24   23.       Pursuant to FRCP 19, Third Party Defendants constitute “Required Party’ as
  25             they are subject to service of process and whose joinder will not deprive the
  26             court of subject-matter jurisdiction must be joined as a party if:
  27             a.       (A) in that person's absence, the court cannot accord complete relief
  28

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   1                   among existing parties; or
   2             b.    (B) that person claims an interest relating to the subject of the action
   3                   and is so situated that disposing of the action in the person's absence
   4                   may:
   5                   i.     (i) as a practical matter impair or impede the person's ability to
   6                          protect the interest; or
   7                   ii.    (ii) leave an existing party subject to a substantial risk of
   8                          incurring double, multiple, or otherwise inconsistent obligations
   9                          because of the interest.
  10   24.       Pursuant to FRCP 20, Third Party Defendants may be joined in this action in
  11             one action as defendants if:
  12             a.    (A) any right to relief is asserted against them jointly, severally, or in
  13                   the alternative with respect to or arising out of the same transaction,
  14                   occurrence, or series of transactions or occurrences; and
  15             b.    (B) any question of law or fact common to all defendants will arise in
  16                   the action.
  17                                  GENERAL ALLEGATIONS
  18                                       JONA RECHNITZ
  19   25.       On information and belief, Jona is infamously known for his involvement
  20             with a federal probe into corruption in the NYPD and the de Blasio mayoral
  21             campaign. He reportedly funneled money into the 2013 de Blasio campaign
  22             and bribed police commanders. He admitted to directing campaign donations
  23             to Mayor de Blasio in exchange for access to City Hall and showering NYPD
  24             leaders with prostitutes and other bribes to cultivate them as allies. He
  25             pleaded guilty to charges of to providing financial and personal benefits and
  26             political contributions to public officials including law enforcement officials
  27             in exchange for official action in March of 2017. Asked about Jona’s
  28

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   1             testimony, the mayor called Jona "a liar and a felon."
   2   26.       On 6-6-2016, in the criminal matter entitled: United States of America vs.
   3             Jona Rechnitz, 1:16-cr-00389-AKH, before the United States District Court
   4             Southern District of New York, a sealed information was filed against Jona
   5             for wire fraud, who then entered a guilty plea. On 3-15-2017, the information
   6             against Jona was unsealed, and Jona was released on bond pursuant to release
   7             conditions imposed by Judge Alvin K. Hellerstein. On 12-6-2019, Jona was
   8             sentenced to 10 months of custody, and was granted release pending appeal.
   9   27.       Interestingly, among the Mandatory Conditions of Jona’s release was that he
  10             not commit another federal, state or local crime.2
  11   28.       Indeed, in Jona’s 10-16-2019 letter to Judge Hellerstein seeking a reduced
  12             sentence, Jona wrote the Court (he shared this letter with Marco):
  13             Dear Judge Hellerstein: I am a felon. I am a criminal. I am the ONLY
                 person to blame for that. I have caused tremendous pain and
  14             embarrassment to my family, my religion, and to myself. There is no
                 way to undo what's been done. It's permanent, and for that I am truly
  15             sorry to everyone hurt by my crimes and actions. It eats me alive each
                 and every day. When I wake up, when I go to sleep, it is always on my
  16             mind for the past 4 years. My actions harmed the people of New York,
                 The people of Correction Officers Benevolent Association, my
  17             friends, my family and my community. I will forever carry this
                 burden, as I deserve to. I have read of your Honor asking at various
  18             sentencings, why do good people do bad things? In my case, not
                 assuming I'm a good person, I can answer this question. Arrogance,
  19             greed, and insecurity. Arrogance. I felt I was above the law. At this
                 young age in my late 20's I was busy accepting honors at dinners and
  20             board positions at prestigious institutions. It got to my head. Greed. I
                 wanted to gain contacts to grow my business, to make money and
  21             gain stature in the long run. Insecurity. I wanted to gain popularity
                 by my peers and become a big shot in my community and business
  22             circles. [Emphasis added].
  23   ---
  24             Shame on me. Finally, I couldn't wiggle my way out of this one. It
                 changed my life as I knew it forever. As a supposed religious man, I
  25             have been a disgrace to my religion. The only way to fix this is to
  26
           A true and correct copy of Jona’s 3-3-2020 Judgement In a Criminal Case in
                 2
  27 United States of America vs. Jona Rechnitz, 1:16-cr-00389-AKH is attached hereto as
  28 Exhibit “2" and is incorporated herein by this reference.

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   1             make serving G-d my main focus for the rest of my life. I try to every
                 day. I have changed as a person religiously, through prayer, my
   2             public and private behavior, and I always stop and think before I'm
                 about to do something to see if it is something my parents, my family,
   3             and G-d would approve of. [Emphasis added].
   4   ---
   5             Your Honor, there are so many examples that I am omitting as I don't
                 want to portray myself as the victim here. I caused a lot of pain and
   6             harm to others through my criminal activity and don't want    to
                 detract from that. JONA RECHNITZ. [Emphasis added]. 3
   7
       29.       On 12-19-19, as reported in the New York Times, ‘Liar,’ and Star Witness
   8
                 in City Graft Cases, Gets 10-Month Sentence”
   9
                 (https://www.nytimes.com/2019/12/19/nyregion/jona-rechnitz-corruption-sen
  10
                 tencing.html) Jona was sentenced to five months in prison and five months of
  11
                 house arrest, followed by three years on parole, apologized to Judge Alvin K.
  12
                 Hellerstein for his criminal and immoral behavior, and asked the judge for
  13
                 leniency.
  14
                 “I've been a real fraud to God, a fraud to my wife and family, a fraud
  15             as an American, a fraud as a businessman, and a fraud to the people
                 of New York, namely, the hard-working COBA members, and I'm truly
  16             sorry for that. My actions have hurt many people, and I'm very sorry
                 for that. I continue to pay for my mistakes on a daily basis.
  17             [Emphasis added].
  18   ---
  19             “While living in New York City, I wrongly felt pressure to become a
                 bigshot. I was working for one of the largest real restate companies in
  20             2007, and it got to my head. I was in my late 20's, and big people in
                 the real estate industry were dealing with me. My ego was big, and I
  21             so badly wanted to impress these people in order to advance my
                 career and profile. This is where things started to spiral out of
  22             control. This is where I went so off the rails for a number of years. I
                 assure your Honor that these past years and the experience I've gone
  23             through has changed me. I will never act that way again.” [Emphasis
                 added].
  24
       ---
  25

  26
            A true and correct copy of Jona’s 10-16-2019 letter to Judge Hellerstein seeking
                 3
  27 a reduced sentence is attached hereto as Exhibit “3” and is incorporated herein by this
  28 reference.

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   1             “I've been a big hypocrite to my religion. I failed to conduct myself
                 properly between myself and my fellow man and between myself and
   2             my relationship with God. I have strayed. I did all of these horrible
                 things without worrying about God or the consequences that come
   3             with this sort of behavior. I cannot express to your Honor how
                 ashamed I am for desecrating my religion. I have and will continue to
   4             repent to God every single day. I have and continued to make
                 amends. Part of my efforts to make right included cooperating as a
   5             first step. I have a lot more work to do.” [Emphasis added].
   6   ---
   7             “This is one of several jobs that I have in the coming months as I
                 continue to sort out my life in a lawful path. In fact, I will spend the
   8             rest of my life trying to make amends for my criminal behavior. I will
                 try to make a better name for my family, for my religion, and for
   9             myself. I am on the path to recovery, your Honor. I am a better
                 family man; I am a better friend; I am a more religious person. I am
  10             working again to make an honest living.” [Emphasis added].
  11             “THE COURT: What is the new business? Jadelle?
  12             “Jadelle, yes. I really paid a hefty price for cooperating with the
                 government for my crimes. Most recently, the New York Post put up an
  13             article that was mentioned this morning -- your Honor may not be
                 aware – accusing me of hobnobbing and flirting with the rich and
  14             famous at a time when I claim I am a pariah to society. In fact, Jadelle
                 Jewelery hosted a jewelery show to promote the brand and new
  15             jewelry collection. The event was to make sales and increase business.
                 One attendee was a Kim Kardashian, a client of Jadelle.”
  16
       ---
  17
                 “Within my community, within the media, and through
  18             self-introspection. In New York City, I am persona non grata. I am to
                 blame. I burnt a lot of bridges and relationships and had to relocate
  19             to California. I am so truly sorry for my behavior. I am a changed
                 man...”
  20
                 “I don't see any way to start over a third time. I'm on my second
  21             chance...”
  22   ---
  23             “THE COURT: ... And yet in the life that's been depicted in this court,
                 he cheapens people. He works on their insecurities and their quest
  24             for material possessions and just does the opposite. He diminishes
                 people....”4
  25

  26
            A true and correct copy of the relevant portions of the transcript of Jona’s 12-
                 4
  27 19-2019 Sentencing Hearing is attached hereto as Exhibit “4” and is incorporated
  28 herein by this reference.

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    1   30.       On information and belief, Jona made numerous false statements to the
    2             federal sentencing judge because by 12-19-2019, Jona’s frauds (below) were
    3             well under way. One of the primary reasons for documenting Jona’s criminal
    4             activities with specificity and by the attachments to this Complaint is to
    5             properly expose his fraud and to preempt the “spin” that he and his family
    6             will inevitably spin to the community of his innocence and that he is unfairly
    7             being pursued. Jona’s house of fraudulent cards needs to be exposed. “The
    8             only thing necessary for the triumph of evil is for good men to do nothing.”
    9             (Edmund Burke, in a letter addressed to Thomas Mercer). Abuse thrives in a
   10             culture of silence.
   11                             MARCO & RECHNITZ (JADELLE)
   12   31.       From the period 8-26-2018 - 12-23-2019, Marco & Jona enjoyed a
   13             successful and trusting relationship with each other whereby they engaged in
   14             approximately 32 transactions totaling approximately $39,369,620 in value,
   15             whereby they bought merchandise from each other and/or returned
   16             merchandise to each other. Jona introduced Marco to famous celebrities,
   17             including NBA stars Shaquille "Shaq" O'Neal, Scottie Pippen, Sam Cassell,
   18             boxing champ Floyd Mayweather, pop stars Kim Kardishian & Kris Jenner,
   19             and artist Alec Monopoly, to name a few, who Marco parlayed Jona’s
   20             introductions into clients and/or to advance his social media presence by
   21             being connected to them.
   22   32.       From the period 10-29-2019 - 1-7-2020 (notwithstanding his then legal
   23             troubles in NY), Jona assured Marco that he was back from NY refocused on
   24             his business, and acquired $6,950,444.40 of additional jewelry from Marco
   25             on consignment for the purpose of reselling them to his clients (including
   26             Plaintiff’s Ring and Necklace).
   27   33.       At the time, Marco had no reason to believe that the $6,950,444.40
   28

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    1             consignments with Rechnitz would be in jeopardy, primarily because of his
    2             successful and trusting relationship with Jona, the 32 prior transactions with
    3             him totaling approximately $39,369,620 in value. Accordingly, Marco LLC
    4             consigned the following pieces of Consigned Jewelry to Rechnitz.
    5
         #        Date          Vendor          Item                             Cost
    6
         1        10-29-2019    Luna            Yellow & White Choker              $150,000.00
    7                                           Necklace / Bracelet - 69.13 ct
                                                10stone 34.9ct 412,500
    8                                           yellow /wt choker/bracelet
    9    2        11-11-2019    Marco LLC       Three Butterfly Rings for            $22,000.00
                                                Kris Jenner & the
   10                                           Kardashians
   11    3        11-19-2019    David           NECKLACE - 18KYG                  $1,300,000.00
                                Rovinsky        Diamond necklace, 134.71
   12                                           Fancy Yellow, internally
                                                flawless, VS2 , 49 stones.
   13    4        11-26-2019    Marco LLC       Two Watches for Jona’s               $89,000.00
   14
                                                client Justin Bieber
         5        11-27-2019    David           RING - 43.10 Carat Fancy          $1,650,000.00
   15                           Rovinsky        Yellow diamond+ 6.82
                                                carats.
   16
         8                      Marco LLC       Two Diamond fashion rings               $5,000.00
   17                                           for Jona’s client Kim
                                                Kardashian
   18
         7        12-2-2019     Norman          BRACELET - Multi-shape             $500,000.00
   19                           Silverman       14 stone diamond bracelet,
                                (Lazar)         45.47 carats, white gold.
   20    8        12-5-2019     Marco LLC       Watch for Jona’s father            $145,000.00
   21
                                                Robert &                            $44,200.00
                                                                                   $189,200.00
   22
                                                Mixed gold & diamond
                                                pieces, for Jona’s client Alec
   23
                                                Andon Monopoly
         9        12-9-2019     Marco LLC       Cufflinks for Jona’s client             $7,000.00
   24                                           Chaz
   25    10       12-12-2019    Norman          BY215 - BRACELET -                 $140,000.00
                                Silverman       Platinum/18kwg 36.69
   26                                           carats, 132 stones, 44 radiant
                                                25.52cttw., 66 baguettes 7.57
   27                                           cttw
   28

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    1
         11       12-16-2019    Norman        NS10052 - EARRINGS -                $335,000.00
    2
                                Silverman     18kwg 2stones, 9.02 Round
                                              Brilliant, J/Sl2G, GIA#
    3
                                              2165989714, 9.02 Round
                                              Brilliant, J/Sl2, GIA#
    4
                                              2205611416
         12       12-16-2019    Lazar         LAZ52342 - RING- 20.54             $793, 049.40
    5                                         carat Oval diamond ring,
                                              H/VVS2, GIA# 6204485119
    6
         13       12-16-2019    First         EID MT 13.62 D/VVS1, #            $1,333, 695.00
    7                           International 11776564
    8    14       12-23-2019    Marco LLC Watch for Jona’s client Kim             $141,500.00
                                              Kardashian, and Two
    9                                         Diamond fashion rings for
                                              Jona’s client Kim Kardashian
   10    15       1-7-2020      Eli, Inc.     RING - 15.03 Fancy Yellow           $215,000.00
   11
                                              internally flawless radiant
                                              diamond mounted on a WG
   12
                                              ring with a diamond halo.
         16                     Marco LLC Saloman (charge back credit              $80,000.00
   13                                         card)
   14                                                               TOTAL       $6,950,444.40
   15
        34.       Prior to 10-29-2019, and thereafter, Rechnitz repeatedly represented to
   16
                  Marco that he had interested buyers for the pieces of Consigned Jewelry, and
   17
                  that consummation of his sales were imminent.
   18
        35.       As stated above, on 11-19-2019 and on 11-27-2019, Marco LLC consigned
   19
                  Rovinsky’s Ring & Necklace to Rechnitz based on his representations that he
   20
                  had buyers for them.
   21

   22    Date       Vendor                    Item                       Cost
   23
         11-19-2019 Marco LLC to              NECKLACE - 18KYG               $1,300,000.00
                    Rechnitz                  Diamond necklace, 134.71
   24
                                              Fancy Yellow, internally
                                              flawless, VS2 , 49 stones.
   25    11-27-2019 Marco LLC to              RING - 43.10 Carat Fancy       $1,650,000.00
                    Rechnitz                  Yellow diamond+ 6.82
   26                                         carats.
   27                                                           TOTAL        $2,950,000.00
   28

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    1   36.       The way consignments work, is that if Rechnitz’s sale to his clients did not
    2             go though, then Rechnitz would return the pieces of Consigned Jewelry back
    3             to Marco, who would in turn, return the Consigned Jewelry back to Marco’s
    4             vendors.
    5   37.       Prior to 10-29-2019, and thereafter, Jona repeatedly indicated to Marco that
    6             he had buyers and sold the pieces of Consigned Jewelry (including
    7             Rovinsky’s Ring & Necklace), and was awaiting receipt of payment from his
    8             clients. These representations by Jona to Marco were false when made, and
    9             Jona knew the representations were false when made. Jona made these
   10             representation with the intention of causing Marco to rely on them. Marco
   11             indeed relied on Jona’s representations to Marco’s detriment.
   12   38.       Yet, no sooner than within weeks of being sentenced in the Southern District
   13             of New York, Jona, a convicted felon, was apparently so “distraught” and
   14             repentant about his criminal past, that instead of reselling Marco’ Consigned
   15             Jewelry (including Rovinsky’s Ring & Necklace) and repaying Marco, Jona
   16             swindled Marco in a large scale fraud by absconding with the pieces of
   17             Consigned Jewelry, and either pawned them off, or used them as collateral
   18             for loans to various questionable sources, and has not repaid Marco the
   19             $6,950,444.40. In reality, Jona liquidated Marco’ Consigned Jewelry
   20             (including Rovinsky’s Ring & Necklace). Marco subsequently discovered
   21             from colleagues that Jona liquidated all pieces of Marco LLC’s Consigned
   22             Jewelry (including Rovinsky’s Ring & Necklace).
   23   39.       On information and belief, at this same time, Jona defrauded other diamond
   24             dealers and insurance companies in Southern California, including but not
   25             limited to: Sotheby’s, Leon Landver, Ben Adhoot, and Yehuda Gamzo, Oved
   26             Anter, Moti Klein, and Julius Klein. The amount of losses to these various
   27             parties is alleged to be over $15,000,000.00.
   28

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    1   40.       But even after Marco discovered Rechnitz’s recent frauds from colleagues in
    2             the jewelry industry, Rechnitz continued to ‘play’ Marco and deceive him
    3             with further false and misleading stories:
    4             On 1-21-20, at 10:22:38AM, Rechnitz texted Marco of a ‘major issue’ a
    5   ‘legal situation’ a ‘huge crisis’ and a ‘disaster’ that forced him to not consummate
    6   his deals with Marco:
    7             The stone of Oved’s is coming back tomorrow with all of the other stones.
                  Client isn’t taking anythinf. I have a major issue now they didn’t know
    8             about my legal situation and freaked out they also want to reverse previous
                  transactions of mine. He can’t be associated with me. A man of his status.
    9             I’m dealing with a huge crisis now and my Dad is at bank trying to sort out
                  issue for me in regards to all this. I stopped the wire because they may be
   10             sending the necklace and ring back. I need a few hours to deal with them
                  with my lawyer. This is a disaster. I am trying to fix this but won’t know for
   11             a few hours. I also have Moty Klein in town at the same time while this is all
                  going on which is extra stress as he can’t hear any of this. Give me a few
   12             hours please and I hope to have better news. [Emphasis Added].
   13   41.       On 1-21-20, at 10:23:29AM, Rechnitz texted Marco a vague admission of
   14             guilt and liability:
   15             I understand if you never want to deal with me again or see my fave ever
                  again I am so sorry. [Emphasis Added].
   16
        42.       On 1-21-20, 10:24:09AM, Rechnitz texted Marco that he is trying to fix his
   17
                  ‘major issue’ a ‘legal situation’ a ‘huge crisis’ and ‘disaster:’ :
   18
                  You need to let me try and resolve this now. [Emphasis Added]
   19
        43.       On 1-21-20, at 10:33:53AM, Rechnitz texted Marco his shame and
   20
                  depression that his recent frauds are causing Marco:
   21
                  You don’t even need to type back anything to me I’m depressed. Upset.
   22             This all happened Yesterday evening. I’m dealing with it. Standby
                  [Emphasis Added].
   23
        44.       In addition, and to make matters worse, on 1-5-2020, Jona issued Marco a
   24
                  worthless check that he had no intention of honoring, # 8630 for
   25
                  $2,950,000.00 post-dated to 1-5-2020 (for the two Rovinsky pieces he had on
   26
                  consignment from Marco).
   27

   28

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    1
         Check #                  Date                  To                   $
    2    8630                     1-5-2020              Peter Marco               $2,950,000.00
    3   45.       Even had Marco tried to deposit Rechnitz’s $2,950,000.00 post-dated check,
    4             he could not because Rechnitz had instructed him to rip it up earlier based on
    5             his promises to Marco that he would wire the funds to Marco.
    6   46.       In addition, and as an aside, on 1-17-2020 Jona issued two worthless checks
    7             to another one of his defrauded creditors First International totaling
    8             $2,122,760.00 that he had no intention of honoring: (1) Check # 2200 for
    9             $922,760.00; and (2) Check # 2201 for $1,200,000.00. Both checks were
   10             NSF at the time of tender, in violation of the California Civil Code § 1719
   11             and the California Penal Code §476a.
   12   47.       In addition, and to make matters worse, on 1-14-2020 Jona issued another
   13             defraused creditor Franco Noval a worthless check that he had no intention
   14             of honoring, check # 8817 for $2,500,000.00, and then on 1-16-2020 check #
   15             8820 for $1,300,000.00, and then on 1-22-2020 check # 8823 for
   16             $4,500,000.00 also in violation of the California Civil Code § 1719 and the
   17             California Penal Code §476a.
   18

   19    Check #                  Date               To                  $
   20    8630                     1-5-2020           Peter Marco            $2,950,000.00
   21
         8817                     1-14-2020          Franco Noval           $2,500,000.00
         8820                     1-16-2020          Franco Noval           $1,300,000.00
   22
         2200                     1-17-2020          First International     $922,760.00
   23
         2201                     1-17-2020          First International    $1,200,000.00
   24    8823                     1-22-2020          Franco Noval           $4,500,000.00
   25                                   Total NSF Checks issued by Jona    $13,372,760.00
   26
        48.       Based upon information and belief, Third Party Defendant Prado, acting in
   27
                  concert with Jona, and to further his scheme, signed Marco’s post-dated
   28

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    1             check and had his girlfriend or another representative at Wells Fargo Bank
    2             issue a stop payment on the check, that Marco was going to deposit.
    3   49.       During this entire time, Jona repeatedly lied to Marco that the deals with his
    4             clients were consummated. Jona lulled, and attempted to fabricate one excuse
    5             after another to delay paying Marco, and hid the truth from them through
    6             stonewalling and lies. Repeated demands have been made to Jona to return
    7             Marco’s Consigned Jewelry (including Rovinsky’s Ring & Necklace).
    8             Instead, Jona, took numerous steps to lull Marco into a false sense of security
    9             to buy more time, and to keep this matter secret via phone calls and
   10             WhatsApp texts.
   11   50.       On 1-22-2020 at 5:12:52, once Jona’s most recent frauds in stealing and
   12             liquidating Marco’ Consigned Jewelry (including Rovinsky’s Ring &
   13             Necklace) and of other victims, hit the streets, Jona texted Marco begging
   14             him to stay quiet and not report him, lulling him to buy time:
   15             “I’m at my cousin lawyer and cousin still getting everything sorted
                  out so no noise and no issue I’ll see you later still.” [Emphasis added].
   16
        51.       On 1-27-20 at 3:47:58, Jona repeated his request that Marco not report him
   17
                  for his fraud:
   18
                  “Please confirm the following: They will wait until end of day
   19             tomorrow and keep it quiet. Need to know ASAP”
   20   and then at 4:03:11:
   21             “Need to know NOW.”.
   22   52.       On 1-29-20 at 7:55:07, Jona repeated his request that Marco not report him
   23             for his fraud:
   24             “All I can say is I’m handling things and don’t discuss anything with
                  anyone. No updates to people who call you unless it’s oved or lazar.”
   25             [Emphasis added].
   26   53.       On 1-30-2020 at 11:35am, Jona introduced Oved Anter of First International
   27             Diamonds to an attorney at Williams & Cohen about the Rechnitz cousin’s
   28

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    1             proposed bailout:
    2             “Oved meet Reuven. Reuven oved is a vendor I owe and used his
                  goods for loans. He has been the single biggest force in helping keep
    3             people calm. He needs to hear from you in order to continue please.
                  Thank you.” [Emphasis added].
    4
        54.       On 2-4-2020, 12:30:22, Jona repeated his request that Marco not report him
    5
                  to news outlets for his fraud:
    6
                  “Pls confirm you didn’t hear back or communicate to the paper.”
    7             [Emphasis added].
    8   55.       On 2-4-2020 at 3:36:55, Jona texted Marco of his fear of being reported to
    9             the authorities for his fraud:
   10             “Is david dealing through you because I heard he wants to report me
                  so confirm that he is holding off and you’ll wait to hear from my
   11             lawyers”
   12   and then at 4:49:01 texted Marco:
   13             “Make sure you ignore the reporter. Moty is too. She can’t print
                  without a comment.” [Emphasis added].
   14
        56.       That night, on 2-4-2020 at 9:40pm, Jona falsely enlisted attorneys to pretend
   15
                  a bailout was coming from family members to buy himself more time.
   16
                  Attorneys from Williams & Cohen wrote Marco about the purported bailout:
   17
                  “We write with an update on Jona Rechnitz. A family member of Mr.
   18             Rechnitz has informed our law firm that the family member is
                  seeking to refinance certain real property in order to satisfy Mr.
   19             Rechnitz's outstanding liabilities. We currently have no visibility into
                  the family member's interest in the property, the value of the property,
   20             or what, if any equity, the family member has in it. If you are
                  represented by counsel, please let us know and provide your counsel's
   21             contact information. Our client's desire is to resolve this matter
                  amicably.”
   22
        57.       Meanwhile, on 2-10-2020, as reported in the NY Post: “Ex-de Blasio crony
   23
                  used Kardashian ties for fraud scheme, lawsuit claims,”
   24
                  (https://nypost.com/2020/02/09/ex-de-blasio-crony-used-kardashian-ties-for-
   25
                  fraud-scheme-lawsuit-claims/), and as reported in the 3-6-2020 article in
   26
                  JCK: “The Troubling Case of Jona Rechnitz”
   27
                  (https://www.jckonline.com/editorial-article/the-troubling-case-jona-rechnitz
   28

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    1             /), and as reported in the 3-10-2020 NY Daily News article “Corrupt Mayor
    2             de Blasio donor Jona Rechnitz faces new FBI probe in L.A.: court papers”
    3             (https://www.nydailynews.com/new-york/ny-rechnitz-los-angeles-probe-202
    4             00310-nrzbb6263nga3hkcyob2lw46wq-story.html), one of Jona’s recently
    5             defrauded victims filed a lawsuit entitled: Victor Franco Norval vs Jona S.
    6             Rechnitz, Rachel Rechnitz, Jadelle Inc., a California Corporation; Jadelle
    7             Jewelry and Diamonds, LLC, a Delaware Limited Liability Company; Levin
    8             Prado Aka Levon Prado, an Xiomara Cortez, LASC # 20SMCV00216, for
    9             (1) Fraud (2) Civil Theft (Penal Code, § 496), (3) Breach of Contract, (4)
   10             Conspiracy to Commit Theft, Fraud, and Fraud by Concealment, (5)
   11             Appointment of Receiver seeking damages of $7,000,000.00.
   12   58.       Interestingly, on 2-22-2020, Jona’s father Robert Rechnitz reiterated the
   13             proposed bailout by Jona’s cousin to Marco and represented that Marco
   14             would be paid “first in line” by Jona’s cousin.
   15   59.       And then on 2-20-2020, as reported in the NY Post “De Blasio donor Jona
   16             Rechnitz accused of $1M scam in California,”
   17             (https://nypost.com/2020/02/28/de-blasio-donor-jona-rechnitz-accused-of-1m
   18             -scam-in-california/) another one of Jona’s defrauded victims filed a lawsuit
   19             entitled: Israel Sam Gorodistian vs. Jadelle Jewelry and Diamonds, LLC, a
   20             Delaware Limited Liability Company; Jadelle Inc., a California
   21             Corporation; Jona Rechnitz, Rachel Rechnitz, Robert Rechnitz, LASC #
   22             20STCV07425, for 1. Conversion; 2. Civil Theft (Pen. Code § 496); 3. Fraud
   23             – False Promise; 4. Negligent Misrepresentation; 5. Civil Conspiracy to
   24             Defraud; 6. Breach of Oral Contract (2 Counts); 7. Breach of Implied-in-fact
   25             Contract (2 Counts); 8. Money Lent; 9. Account Stated; and 10. Breach of
   26             Written Guaranty seeking damages of $1,659,333.33.
   27   60.       Jona is no stranger to fraud. Unbeknownst to Marco, on 6-3-2019, Jona was
   28

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    1             sued in the United States Bankruptcy Court Southern District of New York
    2             (Manhattan), Adv. Case No, # 19-01236-jlg by Kenneth P. Silverman, Esq.,
    3             the Chapter 7 Trustee of the Jointly Administered Estates of National Events
    4             Holdings, LLC, Chapter 7 Case No.: 17-11556 (JLG) on 35 counts of
    5             receiving fraudulent conveyances through an elaborate Ponzi scheme,
    6             pursuant to New York Debtor and Creditor Law §276, and (b) pursuant to 11
    7             U.S.C. §§550(a) and 551, 11 U.S.C. §548(a)(1)(A), and (b), 11 U.S.C.
    8             §548(a)(1)(B), and (b), totaling $45,000,000.00.
    9                              JONA AND ROBERT RECHNITZ
   10   61.       On information and belief, Jona personally ingratiated himself to Marco, as
   11             an Orthodox Jewish diamond dealer, leading Marco to believe that Jona was
   12             more trustworthy than others because of his Orthodox faith and belief in
   13             Jewish law (and common Orthodox Jewish friends in and out of the Diamond
   14             industry), which requires honesty and maximum integrity. These types of
   15             internal community relationships such as the Orthodox Jewish diamond
   16             community create a vulnerability for affinity fraud to be perpetuated. Jona
   17             targeted Marco exploiting his standing in, and knowledge of, the customs and
   18             practices of this community to further his fraudulent scheme. This type of
   19             illegal activity is commonly referred to as “affinity fraud,” and refers to
   20             scams that prey upon members of identifiable groups, such as religious or
   21             ethnic communities, the elderly, or professional groups. The perpetrators of
   22             affinity fraud scams, like Jona, frequently are, or pretend to be, members of
   23             the group, and they exploit the trust and friendship that exist in groups of
   24             people who have something in common. The conventional thinking is that
   25             the religious man doing business with you is unlikely to ruthlessly rip you
   26             off.
   27   62.       On information and belief, Jona and his father Robert Rechnitz’s (“Robert”)
   28

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    1             modus operandi is as follows: Robert would meet Marco in Jona’s office and
    2             at his office, endearing Marco with old school charm warmth & friendship to
    3             place him at ease, while Jona would rip him off in broad daylight and steal
    4             from him. Then, once Jona’s fraud was discovered by his victims (including
    5             Marco), Robert was there officially trying to clean up Jona’s messes, further
    6             lulling the defrauded creditors (including Marco), with promises of bailouts,
    7             putting his friendships with Jona’s victims on the line so-to-speak, in the
    8             unspoken understanding that an action against Jona would be tantamount to
    9             an action against Robert. The two acted in tandem like a tag-team to further
   10             defraud Marco and other victims.
   11   63.       On the one hand, it is laudable for a loving parent to come to the aid of their
   12             child in distress, no matter what. On the other hand, in this case, Marco
   13             believes that Robert’s involvement was too interwoven with Jona’s criminal
   14             actions to be innocent or laudable. For example, throughout their
   15             relationship, Jona constantly brought his father Robert into the conversations
   16             and transactions portraying him to Marco as the moral authority and the one
   17             overseeing and coaching Jona’s affairs, who’s presence conferred legitimacy
   18             on Jona’s wild bragging and transactions, who appeared at the epicenter
   19             whenever Jona’s frauds were discovered by his victims (including Marco).
   20   64.       On 8-8-19, at 15:24:03, Jona texted Anter about Jona’s father Robert:
   21             My Dad is a nice guy doesn’t talk when ppl owe him ?? lee. Yossi.
                  But keeps getting mad I talk to you too much. [Emphasis added]
   22
        65.       On 10-28-19 at 8:43:40, Jona texted Marco citing his father as a bailout
   23
                  source for him:
   24
                  “Issue! My account has a charge back from that client! Money was
   25             withdrawn from my account not enough funds for your wire this
                  morning Bc sent after cutoff Friday. Will resolve next few hours and
   26             get money from my Dad today. Bear with me until later in the day. I’m
                  sorry. Unforseen.” [Emphasis added].
   27
        66.       On 11-5-19 at 9:22:25, Jona texted Marco seeking a bailout for his father:
   28

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    1             “You know me by now if I would ever need anything from a friend
                  YOU this is a level 10. I committed to something by tonight that is not
    2             reversible for my Dad and said it is done. Please tell me you got me
                  and let me breathe here. Thx”
    3
        and at 11-5-19 at 10:12:57:
    4
                  “I am sorry to pressure you and now I’m just letting you know for me
    5             this is super urgent And you are the only person I am comfortable to
                  discuss this with. Obviously it goes without saying I will go all the
    6             way for you and I do not need to even say that here but I feel like
                  saying it to remind you I’m always in your corner either way I hope
    7             we have good news today because I’m out of options thank you,”
                  [Emphasis added].
    8
        and at 11-5-19 at 11:44:55 endeared himself to Marco as his ‘brother:’
    9
                  “Brother pls help me here” and finally, at 11-5-19 at 1:58:26: “My
   10             Dad is good with 70.” [Emphasis added].
   11   67.       On 1-21-20 at 10:22:38, after Jona’s recent frauds to Marco was revealed (by
   12             other sources in the community), Jona cited his father as the one trying to
   13             solve Jona’s frauds, Jona texted Marco:
   14             “The stone of Oved’s is coming back tomorrow with all of the other
                  stones. Client isn’t taking anythinf. I have a major issue now they
   15             didn’t know about my legal situation and freaked out they also want to
                  reverse previous transactions of mine. He can’t be associated with me.
   16             A man of his status. I’m dealing with a huge crisis now and my Dad
                  is at bank trying to sort out issue for me in regards to all this. I
   17             stopped the wire because they may be sending the necklace and ring
                  back. I need a few hours to deal with them with my lawyer. This is a
   18             disaster. I am trying to fix this but won’t know for a few hours. I also
                  have Moty Klein in town at the same time while this is all going on
   19             which is extra stress as he can’t hear any of this. Give me a few hours
                  please and I hope to have better news.” [Emphasis added].
   20
        68.       On 1-26-20 at 12:18:08 PM, Jona texted Marco a report of his father’s
   21
                  attempts to rectify his most recent frauds to his vendors:
   22
                  “And lazar tried to control things a little too much from my cousins
   23             money. My Dad very involved joe. Just wait...Promise you” and at 1-
                  26-20 at 12:18:15: “*now.” [Emphasis added].
   24
        69.       For now, Robert is not a named party, but Marco reserves the right to name
   25
                  him as a third party defendant once facts become known as to the full extent
   26
                  of his involvement with Jona’s most recent frauds. Parenthetically, Robert
   27
                  was recently placed into an involuntary bankruptcy/receivership by his
   28

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    1             creditor ITOR 116 SF LLC in Israel, Case # 27255-09-18 for debts in excess
    2             of $2,600,000.00 shekel ($9,500,000.00 dollars) (“Receiving order against
    3             businessman Robert Rechnitz, who is close to Netanyahu”
    4             http://www.calcalist.co.il//articles/0,7340,L-3803076,00.html) but the Israeli
    5             bankruptcy does not stay Marco’s claims against him in this country.
    6   70.       On 3-9-2020, Marco’ litigation counsel Baruch C. Cohen (“Cohen”)
    7             extended a professional courtesy to Robert to inform him that Cohen had
    8             been retained by Marco to sue Jona, inquiring (actually, hoping) that
    9             Rechnitz’s cousin’s bailout was imminent, to avoid the litigation. Further, as
   10             Robert personally guaranteed the debts to Oved Anter and First International
   11             of up to $12,000,000.00, that Cohen would reluctantly have to sue Robert as
   12             well. Cohen told Robert that he personally preferred not to have to sue
   13             Robert, as both pray at the same synagogue in Hancock Park and have known
   14             each other for years. Cohen acknowledged that Robert attempted to help
   15             Cohen in the past and was gracious in Cohen’s time of need, as Cohen was to
   16             Robert’s. Cohen acknowledged that Jona introduced Cohen to Marco. Cohen
   17             made it clear that he took no joy in prosecuting these cases on behalf of
   18             Marco and Anter against Jona and Robert, as Cohen agonized over it for over
   19             a month ever since Marco was being pursued by Rovinsky because of Jona’s
   20             actions. But, Cohen explained, that Jona placed his clients in a terrible
   21             predicament exposing them to millions of dollars of damages from Rovinsky
   22             and others, and the scope of Jona’s perfidy and betrayal was so breathtaking,
   23             overwhelming and devastating, that Marco and Anter absolutely insisted that
   24             Cohen protect their interests. While Cohen did not expect Robert to be
   25             pleased with this decision, as Marco’s attorney, Cohen owed Marco a 100%
   26             duty and must represent his client’s interests.
   27   71.       Further, in the matter of Oved Anter & First International Diamonds
   28

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    1             (“Anter”) vs Rechnitz et al, on 6-25-2019 Robert personally guaranteed up to
    2             $12,000,000.00 of Jona’s debt to Anter. Robert’s 6-25-2019 Personal
    3             Guaranty to Anter stated that Robert stood behind Jona and all his dealing. It
    4             reads as follows:
    5             Dear Oved / First International Diamonds Inc., I very much enjoyed
                  speaking to you by phone. Jona has shared some of your conversations
    6             with me. Thank you for being a confidant for Jona. He mentioned to
                  me about how your Father had a special bond and relationship with
    7             you. I was also privileged to have a close relationship with my Father,
                  as did Jona. I'm sure you will find much success in your dealings
    8             together. I completely understand your desire to know that Jona's
                  family is aware of his dealings with you and stands behind him. I am
    9             pleased to confirm that I stand behind Jona and all his dealing with
                  you. You have indicated that you have extended memos up to the
   10             amount of $12,000,000.00. If for some reason you need to callback
                  your credit line, all merchandise will be returned to you, and any
   11             cash deficiencies will be repaid by me. . May your confidence in Jona
                  and your extension of credit be profitable for both of you. BOBBY
   12             RECHNITZ / CC: JONA RECHNITZ [Emphasis added]
   13   72.       Jona personally handed Robert’s 6-25-2019 Personal Guaranty letter to Anter
   14             several days after Robert orally promised to personally guaranty Jona’s debts
   15             to Anter, while all three met at Pat’s Kosher Restaurant on Pico Boulevard.
   16   73.       On 6-25-19 at 16:22:18, Jona Whatsapp texted Oved - confirming Robert’s
   17             Personal Guaranty:
   18             “It’s good to know I’m worth 12mm to my Dad not 10mm lol.”
   19             [Emphasis added].
   20   74.       On 7-3-19 at 21:58:14 Jona Whatsapp texted Oved again, confirming the
   21             UCC Financing Statement and the Personal Guaranties to Anter:
   22             “OK also I filled out the application so Monday let’s go through it I
                  am away until Monday I will come see you Monday I will take care of
   23             that and I will get the application filled out with you. No worries. In
                  meantime you have UCC. My Dad guarantee in writing. My
   24             guarantee. My wife. Everything and the legal document that’s owns
                  me. I want you to feel protected and will make it happen.” [Emphasis
   25             added].
   26   75.       On 3-9-2020 Cohen notified Robert that he would have to sue Robert on the
   27             personal guarantee to Anter as well.
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    1   76.       3-10-2020 was the Jewish holiday of Purim, and Robert approached Cohen in
    2             synagogue that night acknowledging the professional courtesy extended to
    3             him, and asked to speak to Cohen under the guise and pretext of wanting to
    4             talk about “nothing legal, just as friends.” Cohen reiterated the above, and
    5             Robert repeatedly denied personally guaranteeing the debts to Anter.
    6   77.       Robert’s denial that he personally guaranteeing the debts to Anter was indeed
    7             curious, as Cohen had a copy of Robert’s 6-25-2019 Personal Guaranty in his
    8             file. So, what was Cohen to make of Robert’s denials? Was he involved with
    9             Jona’s frauds, or was he not?
   10   78.       If indeed, Robert did not sign the Personal Guaranty to Anter - as he insisted
   11             to Cohen orally - and giving Robert the benefit of the doubt - then that would
   12             mean that Jona forged his own father’s name to Robert’s 6-25-2019 Personal
   13             Guaranty to Anter, and shamelessly exploited Anter’s trust and his father’s
   14             name, using a doctored document to continue to commit crimes while out on
   15             bail.
   16   79.       On 3-10-2020 at approximately 10:00pm that night, Jona resumed and
   17             resorted to his criminal behavior and called Marco, livid that Cohen is “going
   18             after his family and his father” threatening him and Anter that unless he
   19             receives a letter from Marco and Anter that they will be firing Cohen as their
   20             attorney, that Jona will engage in an all out war, “destroy” “rip apart” and
   21             “mess and fuck Cohen good” with the State Bar (claiming to have texts that
   22             Cohen was his lawyer creating a conflict of interest), and report Anter to the
   23             IRS for criminal tax evasion. Jona repeated his bogus pledge that his cousin
   24             is still working on bailing him out to make Marco whole within one week,
   25             but that it was conditional on them firing Cohen. Jona brazenly assured
   26             Marco that his role as one of the single most important and prolific white
   27             collar cooperating witnesses in the recent history of the Southern District of
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    1             New York, with his working closely with the FBI as an informant, along with
    2             the fact that he only received 10 months custody time with 5 months house
    3             arrest, that since the FBI needs him as an informant so badly in the New York
    4             case that they would never do anything to him no matter what he did, making
    5             him immune from any further prosecution (mistakenly believing that this
    6             provides him some kind of ill-conceived immunity from committing criminal
    7             acts of fraud and extortion in California [ie., Penal Code 518]). Tragically,
    8             Jona learned nothing from his life of crime and resorted to his old tricks of
    9             extortion and blackmail, and if anything, has become emboldened by it.
   10   80.       In said conversation, Jona immediately conferenced-in his father Robert into
   11             the late night conversation (who was curiously readily available), under the
   12             guise and pretext of wanting to talk about “nothing legal, just as friends.”
   13   81.       Obviously, whatever good will Cohen was prepared to extend to Robert
   14             disintegrated by Jona’s extortion call and Robert’s convenient joinder late
   15             that night.
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    1   82.       After Jona finished threatening Marco, Cohen and Anter, Jona texted Marco
    2             at 10:55pm a veiled confirmation of the conversation:
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    1   83.       As to Jona’s threats to report Cohen to the State Bar, Jona merely introduced
    2             Cohen to Peter Marco and nothing more. Jona was never Cohen’s client, and
    3             Cohen was never Jona’s lawyer, as evidenced by Jona’s texts to Cohen.
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    1   84.       Obviously, by this lawsuit, Cohen is not resigning and will remain counsel of
    2             record for both of his clients, and he and Marco will not be scared away or
    3             intimidated by Jona’s criminal threats of extortion.
    4   85.       As reported in the 2-12-2020 NY Post article “DeBlasio Donor Jona
    5             Rechnitz Used Kardashian Ties to Further His Schemes”
    6             (http://thejewishvoice.com/2020/02/deblasio-donor-jona-rechnitz-used-karda
    7             shian-ties-to-further-his-schemes/) Jona Rechnitz’s dark dealings is eerily
    8             similar of the character Howard Ratner, played by actor Adam Sandler, in the
    9             2019 film “Uncut Gems,” of a charismatic debt-ridden gambling addict, a
   10             wheeling, dealing, greedy Jewish diamond dealer, scheming, ripping people
   11             off, swearing and making bold plays to try and advance his own life, clearly
   12             headed toward self-destruction.
   13                                   FIRST CAUSE OF ACTION
   14                     INTENTIONAL MISREPRESENTATION & FRAUD
   15      (On behalf of Third Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
   16                                               Prado)
   17   86.       Third Party Plaintiffs hereby incorporate by reference as though fully set
   18             forth in full herein, all preceding Paragraphs of this Complaint.
   19   87.       The foregoing representations made by Jona, and the Third Party Defendants
   20             were false when they were made, and Third Party Defendants knew the
   21             representations to be false. Jona and the Third Party Defendants did not
   22             intend to comply with the promises and representations when they were
   23             made.
   24   88.       The foregoing representations were made by Jona and the Third Party
   25             Defendants with the intent to deceive Marco and with knowledge that Marco
   26             would rely on them.
   27   89.       Third Party Plaintiffs detrimentally and reasonably relied on the foregoing
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    1             representations.
    2   90.       Third Party Plaintiffs have been damaged by Third Party Defendants’ false,
    3             intentional, and fraudulent representations and concealing of material
    4             information, as alleged above, in an amount to be proven at trial, but at least
    5             $6,950,444.40, which represents the consigned jewelry Jona lied to steal as
    6             well as tendered worthless instruments for.
    7   91.       Third Party Plaintiffs further request the imposition of a constructive trust
    8             against all Third Party Defendants who are in possession of the Consigned
    9             Jewelry set forth in the Consignment Memos and for an order and judgment
   10             that they hold the consigned jewelry and/or all proceeds therefrom as
   11             constructive trustees for the benefit of Marco.
   12   92.       In doing the things herein alleged, Jona and the Third Party Defendants acted
   13             willfully, maliciously, and with the intent to cause injury and harm to Marco.
   14             All Third Party Defendants are therefore guilty of malice and/or fraud in
   15             conscious disregard of Marco’ rights, thereby warranting an assessment of
   16             punitive and exemplary damages in an amount appropriate to punish Third
   17             Party Defendants, and each of them, and deter them and others from
   18             engaging in similar misconduct.
   19                                SECOND CAUSE OF ACTION
   20                            CIVIL THEFT (Cal. Penal Code § 496)
   21            (On behalf of Third Party Plaintiff as to Jona Rechnitz, Rachel Rechnitz)
   22   93.       Third Party Plaintiffs hereby incorporate by reference as though fully set
   23             forth in full herein, all preceding Paragraphs of this Complaint.
   24   94.       As a result of Jona and Third Party Defendants’ conduct as alleged herein,
   25             they have violated California Penal Code, §496 that provides: “[e]very
   26             person who buys or receives any property that has been stolen or that has
   27             been obtained in any manner constituting theft or extortion, knowing the
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    1             property to be so stolen or obtained, or who conceals, sells, withholds, or aids
    2             in concealing, selling, or withholding any property from the owner, knowing
    3             the property to be so stolen or obtained, shall be punished by imprisonment
    4             in a county jail for not more than one year, or imprisonment pursuant to
    5             subdivision (h) of Section 1170. However, if the value of the property does
    6             not exceed nine hundred fifty dollars ($950), the offense shall be a
    7             misdemeanor, punishable only by imprisonment in a county jail not
    8             exceeding one year, if such person has no prior convictions for an offense
    9             specified in clause (iv) of subparagraph (C) of paragraph (2) of subdivision
   10             (e) of Section 667 or for an offense requiring registration pursuant to
   11             subdivision (c) of Section 290.
   12   95.       Jona and Third Party Defendants have obtained and received property from
   13             Marco, the $6,950,444.40 of Consigned Jewelry, in a manner constituting
   14             “theft,” as that term is defined in California Penal Code, § 484(a) that
   15             provides: “[e]very person who shall feloniously steal, take, carry, lead, or
   16             drive away the personal property of another, or who shall fraudulently
   17             appropriate property which has been entrusted to him or her, or who shall
   18             knowingly and designedly, by any false or fraudulent representation or
   19             pretense, defraud any other person of money, labor or real or personal
   20             property or who causes or procures others to report falsely of his or her
   21             wealth or mercantile character and by thus imposing upon any person,
   22             obtains credit and thereby fraudulently gets or obtains possession of money,
   23             or property or obtains the labor or service of another, is guilty of theft.”
   24   96.       Third Party Defendants’ conduct constitutes theft, as that term is defined in
   25             California Penal Code § 484(a).
   26   97.       As a direct and proximate result of Third Party Defendants’ civil theft, Marco
   27             has been damaged in an amount to be proven at trial, but at least
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    1             $6,950,444.40.
    2   98.       Pursuant to California Penal Code, § 496(c), Marco is also entitled to recover
    3             treble damages from Third Party Defendants.
    4   99.       Pursuant to California Penal Code, § 496(c), Marco is also entitled to recover
    5             attorneys’ fees from Third Party Defendants.
    6   100. Marco further requests the imposition of a constructive trust against all Third
    7             Party Defendants who are in possession of the consigned jewelry set forth in
    8             the Consignment Memos and for an order and judgment that they hold the
    9             consigned jewelry and/or all proceeds therefrom as constructive trustees for
   10             the benefit of Marco.
   11   101. In doing the things herein alleged, Third Party Defendants acted willfully,
   12             maliciously, and with the intent to cause injury and harm to Marco. Third
   13             Party Defendants are therefore guilty of malice and/or fraud in conscious
   14             disregard of Marco’s rights, thereby warranting an assessment of punitive
   15             and exemplary damages in an amount appropriate to punish Third Party
   16             Defendants, and each of them, and deter them and others from engaging in
   17             similar misconduct.
   18                                   THIRD CAUSE OF ACTION
   19                                      EMBEZZLEMENT
   20                    (On behalf of Third Party Plaintiffs as to Jona Rechnitz)
   21   102. Third Party Plaintiffs hereby incorporate by reference as though fully set
   22             forth in full herein, all preceding Paragraphs of this Complaint.
   23   103. Based on the foregoing, Jona, without Marco’ knowledge or consent, instead
   24             of reselling Marco’s Consigned Jewelry (including Rovinsky’s Ring &
   25             Necklace) and repaying Marco, Jona swindled Marco in a large scale fraud
   26             by absconding with Marco’s Consigned Jewelry (including Rovinsky’s Ring
   27             & Necklace), and either pawned them off, or used them as collateral for loans
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    1             to various questionable sources, and has not repaid Marco the $6,950,444.40.
    2             In reality, Jona liquidated Marco’ Consigned Jewelry Marco’s Consigned
    3             Jewelry (including Rovinsky’s Ring & Necklace) , and refused to tell Marco
    4             how he liquidated the Consigned Jewelry or how he spent the proceeds.
    5             Marco asked Jona to disclose the location of the Consigned Jewelry and to
    6             provide a tracing and accounting of the proceeds, and Jona refused to do so.
    7   104. In engaging in the conduct described above, Jona acted despicably, willfully,
    8             wantonly, oppressively, fraudulently, or in conscious disregard of Marco’s
    9             rights, within the meaning of Civil Code § 3924(c), so as to entitle Marco to
   10             punitive damages in an amount sufficient to punish or make an example of
   11             Jona.
   12   105. As a result of Jona’s actions, Marco have been damaged in an amount
   13             according to proof, plus interest, costs, and attorneys' fees as permitted by
   14             law.
   15                                FOURTH CAUSE OF ACTION
   16       CIVIL CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
   17                                       CONCEALMENT
   18      (On behalf of Third Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz, Levin
   19                                              Prado)
   20   106. Third Party Plaintiffs hereby incorporate by reference as though fully set
   21             forth in full herein, all preceding Paragraphs of this Complaint.
   22   107. Jona, Rachel and Prado conspired to make illegal agreements to defraud
   23             Marco of the consigned jewelry and to commit civil theft.
   24   108. Jona, with his wife Rachel, have set up companies to solicit consigned
   25             jewelry based upon the false premise they have clients to sell them to.
   26             Meanwhile they took Marco’s Consigned Jewelry (including Rovinsky’s
   27             Ring & Necklace), swindled Marco in a large scale fraud by absconding with
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    1             the pieces of jewelry, and either pawned them off, or used them as collateral
    2             for loans to various questionable sources, and has not repaid Marco the
    3             $6,950,444.40. In reality, Jona liquidated Marco’s consigned jewelry, and
    4             refused to tell Marco how he liquidated the consigned jewelry or how he
    5             spent the proceeds. Marco asked Jona to disclose the location of the
    6             consigned jewelry and to provide a tracing and accounting of the proceeds,
    7             and Jona refused to do so.
    8   109. Jona deceived Marco to consign them the $6,950,444.40 in jewelry, with
    9             false promises of consummated sales and with false promises of repayment.
   10   110. Third Party Plaintiffs are informed, believe, and thereupon allege that at all
   11             times relevant hereto, Third Party Defendants formed a civil conspiracy and
   12             engaged in the foregoing acts in operation and furtherance of that conspiracy.
   13   111. Third Party Plaintiffs are informed, believe, and thereupon allege that at all
   14             times relevant hereto, Third Party Defendants committed the foregoing
   15             misrepresentations, wrongs, theft, and fraud for the purpose and in
   16             furtherance of a fraudulent conspiracy and scheme to defraud Marco, as
   17             alleged herein.
   18   112. As a result of the civil conspiracy, each and every Defendant is liable and
   19             responsible for the acts of the other Third Party Defendants in furtherance of
   20             the conspiracy and all damages resulting therefrom.
   21   113. As a result of the civil conspiracy, Third Party Defendants are jointly and
   22             severally liable for $6,950,444.40.
   23   114. The egregious nature of the Third Party Defendants/conspirators’ collective
   24             conduct is malicious, wanton, and willful. Marco need to be awarded
   25             punitive damages plus a judgment of joint and several liability.
   26   ///
   27   ///
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    1                                  FIFTH CAUSE OF ACTION
    2                                           CONVERSION
    3           (On behalf of Third Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz)
    4   115. Third Party Plaintiffs hereby incorporate by reference as though fully set
    5             forth in full herein, all preceding Paragraphs of this Complaint.
    6   116. At all times relevant, by virtue of their Consignment Memos, Marco owned,
    7             possessed, or had a right to receive and possess their $6,950,444.40 in
    8             Consigned Jewelry.
    9   117. Third Party Plaintiffs recently discovered that the Third Party Defendants
   10             have intentionally and substantially interfered with Marco’s property by
   11             means of false and fraudulent activity, including, but not limited to,
   12             misappropriating Marco’ Consigned Jewelry (including Rovinsky’s Ring &
   13             Necklace) for their own personal use and other theft according to proof. The
   14             Third Party Defendants engaged in this conduct with the intention of
   15             wrongfully benefitting themselves at the expense of Marco.
   16   118. Third Party Defendants sold, encumbered, or otherwise transferred Marco’s
   17             Consigned Jewelry (including Rovinsky’s Ring & Necklace) to third parties
   18             of questionable reputation, subject to Marco’s Consignment Memos without
   19             the knowledge of Marco. These transferees took possession of Marco’
   20             Consigned Jewelry (including Rovinsky’s Ring & Necklace). Once Marco
   21             discovers the identities of these fraudulent transferees, Marco will amend this
   22             Complaint to add them as Third Party Defendants to a claim and delivery
   23             (replevin) cause of action.
   24   119. Third Party Plaintiffs did not consent to said activities.
   25   120. As a direct and proximate result of the foregoing acts, Third Party
   26             Defendants intended to cause, and have in fact caused, actual harm to Marco,
   27             and are liable to Marco for damages in an amount to be proven at trial, but no
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    1             less than $6,950,444.40.
    2   121. During, and as a further proximate result of, the Third Party Defendants’
    3             wrongful possession and detention of Marco’s Consigned Jewelry, Marco has
    4             suffered the loss of the deterioration of their property and resulting business
    5             losses in an amount to be proven at trial.
    6   122. Furthermore, Marco is informed and believe, and so allege, that the Third
    7             Party Defendants’ aforementioned acts were taken with malice, fraud, and
    8             oppression and in conscious disregard for Marco’s rights, and were done
    9             willfully and with the intent to cause injury to Marco. The Third Party
   10             Defendants were aware at all times that Marco was owed either return of the
   11             consigned goods or repayment of $6,950,444.40 and intended to
   12             surreptitiously misappropriate Marco’s consigned goods and funds for their
   13             own personal use, seeking only to intentionally and maliciously deceive
   14             Marco. Accordingly, Marco is entitled to an award of exemplary and punitive
   15             damages against the Third Party Defendants.
   16                                 SIXTH CAUSE OF ACTION
   17                                  BREACH OF CONTRACT
   18           (On behalf of Third Party Plaintiffs as to Jona Rechnitz, Rachel Rechnitz)
   19   123. Third Party Plaintiffs hereby incorporate by reference as though fully set
   20             forth in full herein, all preceding Paragraphs of this Complaint.
   21   124. Third Party Plaintiffs, (the Jadelle Parties), Jona and Rachel are parties to
   22             binding contracts, the Consignment Memos.
   23   125. At all times, Marco performed all conditions, covenants, and promises
   24             required in accordance with the terms of the Consignment Memos,, except as
   25             they have been prevented or excused from performing by the acts and/or
   26             omissions of (the Jadelle Parties), Jona & Rachel.
   27   126. Under the 10-29-2019 Consignment Memo to Luna, (the Jadelle Parties) and
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    1             Jona & Rachel were to either return the Yellow & White Choker Necklace /
    2             Bracelet to Third Party Plaintiffs or pay them $150,000.00.
    3   127. Under the 12-2-2019 Consignment Memo to Norman Silverman, (the Jadelle
    4             Parties) and Jona & Rachel were to either return the BRACELET -
    5             Multi-shape 14 stone diamond bracelet, 45.47 carats, white gold to Third
    6             Party Plaintiffs or pay them $500,000.00.
    7   128. Under the 12-12-2019 Consignment Memo to Norman Silverman, (the
    8             Jadelle Parties) and Jona & Rachel were to either return the BY215 -
    9             BRACELET - Platinum/18kwg 36.69 carats, 132 stones, 44 radiant
   10             25.52cttw., 66 baguettes 7.57 cttw to Third Party Plaintiffs or pay them
   11             $140,000.00.
   12   129. Under the 12-16-2019 Consignment Memo to Norman Silverman, (the
   13             Jadelle Parties) and Jona & Rachel were to either return the NS10052 -
   14             EARRINGS - 18kwg 2stones, 9.02 Round Brilliant, J/Sl2G, GIA#
   15             2165989714, 9.02 Round Brilliant, J/Sl2, GIA# 2205611416 to Third Party
   16             Plaintiffs or pay them $335,000.00.
   17   130. Under the 12-16-2019 Consignment Memo to Lazar, (the Jadelle Parties) and
   18             Jona & Rachel were to either return the LAZ52342 - RING- 20.54 carat Oval
   19             diamond ring, H/VVS2, GIA# 6204485119 to Third Party Plaintiffs or pay
   20             them $793, 049.40.
   21   131. Under the 12-16-2019 Consignment Memo to First International, (the Jadelle
   22             Parties) and Jona & Rachel were to either return the EID MT 13.62 D/VVS1,
   23             # 11776564 to Third Party Plaintiffs or pay them $1,333, 695.00.
   24   132. Under the 11-19-2019 Consignment Memo, the Jadelle Parties) and Jona &
   25             Rachel were to either return the NECKLACE - 18KYG Diamond necklace,
   26             134.71 Fancy Yellow, internally flawless, VS2 , 49 stones to Third Party
   27             Plaintiffs or pay them $1,300,000.00.
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    1   133. Under the 11-27-2019 Consignment Memo to David Rovinsky, (the Jadelle
    2             Parties) and Jona & Rachel were to either return the RING - 43.10 Carat
    3             Fancy Yellow diamond+ 6.82 carats to Third Party Plaintiffs or pay them
    4             $1,650,000.00.
    5   134. Under the 1-7-2020 Consignment Memo to Eli, Inc., (the Jadelle Parties) and
    6             Jona & Rachel were to either return the RING - 15.03 Fancy Yellow
    7             internally flawless radiant diamond mounted on a WG ring with a diamond
    8             halo to Third Party Plaintiffs or pay them $215,000.00.
    9   135. (The Jadelle Parties) and Jona & Rachel breached the Consignment Memos
   10             by failing to return the consigned jewelry and make full repayment of the
   11             $6,950,444.40. As of the date of filing of this complaint, the full amount of
   12             Third Party Plaintiffs’ debt in the amount $6,950,444.40 is past due and
   13             owing. In addition, accrued and ongoing interest, remains due, owing, and
   14             unpaid from (the Jadelle Parties) and Jona & Rachel to Third Party Plaintiffs.
   15   136. As a direct and proximate result of the foregoing acts, Third Party Plaintiffs
   16             have been damaged in an amount to be proven at trial, together with interest
   17             at the maximum legal rate according to proof. (The Jadelle Parties) and Jona
   18             & Rachel would receive unjust enrichment if allowed to retain the benefits of
   19             Third Party Plaintiffs’ performance under the Consignment Memos without
   20             abiding by (the Jadelle Parties) and Jona’s & Rachel’s own repayment
   21             obligations under the Consignment Memos and/or Third Party Plaintiffs
   22             detrimentally relied on the Consignment Memos and would suffer an
   23             unconscionable injury if the Consignment Memos were not enforced.
   24   ///
   25   ///
   26   ///
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    1                            SEVENTH CAUSE OF ACTION
    2
                            BREACH OF THE IMPLIED COVENANT OF
                               GOOD FAITH AND FAIR DEALING
    3
        (On behalf of Third Party Plaintiffs as to Jona S. Rechnitz., Rachel Rechnitz, Levin
    4
                                                       Prado)
    5
        137. Third Party Plaintiffs hereby incorporate by reference as though fully set
    6
                  forth in full herein, all preceding Paragraphs of this Complaint.
    7
        138. Based on the foregoing, Third Party Plaintiffs are informed and believe, and
    8
                  on such information and belief allege, that based on the foregoing, Third
    9
                  Party Defendants breached the implied covenant of good faith and fair
   10
                  dealing continuously throughout the business relationship with Marco.
   11
        139. Third Party Plaintiffs are informed and believe, and on such information and
   12
                  belief allege, that there may be other facts constituting breach of the implied
   13
                  covenant of good faith and fair dealing which will be presented through
   14
                  discovery or at the time of trial.
   15
        140. As a direct and proximate cause of the acts of Third Party Defendants, Marco
   16
                  suffered damages in an amount according to proof at the time of trial of at
   17
                  least $6,950,444.40.
   18
        141. Third Party Plaintiffs are informed and believe, and on such information and
   19
                  belief allege, that Third Party Defendants acted despicably, willfully,
   20
                  wantonly, oppressively, fraudulently, or in conscious disregard of Marco’s
   21
                  rights. Marco seeks recovery of exemplary damages in an amount according
   22
                  to proof at the time of trial.
   23
        142. As a result of Third Party Defendants’ actions, Marco has been damaged in
   24
                  an amount according to proof, plus interest, costs, and attorneys' fees as
   25
                  permitted by law.
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Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 39 of 88 Page ID #:137



    1                                EIGHTH CAUSE OF ACTION
    2                                      ACCOUNT STATED
    3                  (On behalf of Plaintiff as to Jona Rechnitz, Rachel Rechnitz)
    4   143. Third Party Plaintiffs hereby incorporate by reference as though fully set
    5             forth in full herein, all preceding Paragraphs of this Complaint.
    6   144. Based on the foregoing, in Los Angeles County, State of California, an
    7             account was stated in writing by and between Marco and (the Jadelle Parties),
    8             Jona, Rachel, and on such statement, a balance of $6,950,444.40 was found
    9             due to Marco from (the Jadelle Parties), Jona, Rachel, who all agreed to pay
   10             to Marco said balances in full.
   11   145. Although demanded by Marco from (the Jadelle Parties), Jona, Rachel, they
   12             have failed to fully repay the balance of $6,950,444.40. Repeated demands
   13             were made and ignored by Third Party Defendants. As of the date of filing of
   14             this complaint, $6,950,444.40 is the current principal amount past due and
   15             owing. In addition, accrued and ongoing interest remains due, owing, and
   16             unpaid from (the Jadelle Parties), Jona, Rachel, to Marco.
   17   146. Third Party Plaintiffs have incurred attorneys’ fees in connection with this
   18             matter, in an amount to be determined at trial. Because the Consignment
   19             Memos are contracts on a book account, Marco are entitled to recover
   20             attorneys’ fees from (the Jadelle Parties), Jona, Rachel, pursuant to Civil
   21             Code section 1717.5.
   22                                 NINTH CAUSE OF ACTION
   23    UNETHICAL BUSINESS PRACTICES IN VIOLATION OF CALIFORNIA
   24                        BUSINESS & PROFESSIONS CODE §17200
   25    (On behalf of Third Party Plaintiffs as to Jona S. Rechnitz, Rachel Rechnitz, Levin
   26                                               Prado)
   27   147. Third Party Plaintiffs hereby incorporate by reference as though fully set
   28

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Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 40 of 88 Page ID #:138



    1             forth in full herein, all preceding Paragraphs of this Complaint.
    2   148. Based on the foregoing, Third Party Plaintiffs are informed, believe, and
    3             thereupon allege , that Third Party Defendants intentionally conspired with
    4             each other to restrain competition and deprive Marco of the benefit of their
    5             contracts.
    6   149. As a direct and proximate result of the aforementioned conduct of Third
    7             Party Defendants, and each of them, Marco has been damaged in a sum in
    8             excess of the jurisdiction of this Court, to be determined according to proof
    9             at the time of trial of at least $6,950,444.40.
   10   150. In engaging in the conduct described above, Third Party Defendants, and
   11             each of them, acted willfully and intending to deprive Marco of their property
   12             or legal rights, thereby committing acts of fraud, within the meaning of Civil
   13             Code §3924(c), so as to entitle Marco to punitive damages in an amount
   14             sufficient to punish or make an example of Third Party Defendants, and each
   15             of them.
   16                                     PRAYER FOR RELIEF
   17             WHEREFORE, Third Party Plaintiffs seek a judgment in their favor and an
   18   order granting the following relief:
   19   1.        That Marco be awarded compensatory damages in the amount of at least
   20             $6,950,444.40;
   21   2.        That Marco be awarded treble damages pursuant to California Penal Code,
   22             §496(c);
   23   3.        That Marco be awarded reasonable attorneys’ fees pursuant to California
   24             Penal Code, §496©;
   25   4.        That Marco be awarded attorneys’ fees pursuant to Civil Code section
   26             1717.5.
   27   5.        For a constructive trust over the Consigned Jewelry and all proceeds
   28

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Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 41 of 88 Page ID #:139



    1             therefrom;
    2   6.        That Marco be awarded punitive damages in an amount to be proven at trial;
    3   7.        That Marco be awarded costs of suit; and
    4   8.        That Marco be awarded such further relief as the Court deems just and
    5             proper.
    6

    7                                 DEMAND FOR JURY TRIAL
    8             Third Party Plaintiffs hereby demand a trial by jury to the full extent
    9   permitted by law.
   10
        DATED:          April 14, 2020             LAW OFFICE OF BARUCH C. COHEN
   11                                              A Professional Law Corporation
   12                                              By       /S/ Baruch C. Cohen
                                                        Baruch C. Cohen, Esq.
   13                                                   Attorney for Third Party Plaintiffs PETER
                                                        VOUTSAS aka PETER MARCO aka
   14                                                   PETER MARCO EXTRAORDINARY
                                                        JEWELS OF BEVERLY HILLS, dba
   15                                                   PETER MARCO LLC
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Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 42 of 88 Page ID #:140




                    EXHIBIT-1
Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 43 of 88 Page ID #:141


   CMIECF - U.S. Bankruptcy Court (v5.2. l - LIVE)                               Page 1 of2


                                 United States Bankruptcy Court
                                  Central District of California

   Notice of Involuntary Bankruptcy Case
   Filing

   An involuntary bankruptcy case concerning the debtor
   (s) listed below was filed under Chapter 7 of the
   United States Bankruptcy Code, entered on
   0410612020 at 3:52 PM and filed on 04/06/2020.

  Jadelle Jewelry And Diamonds LLC a Delaware
  limited liability company
  9454 Wilshire Blvd
  Penthouse 01
  Beverly Hills, CA 90212
  Tax ID I EIN: XX-XXXXXXX
  dba Jadelle Inc

   The case was filed by the following petitioning creditor(s):

   First International Diamond Inc      Baruch C Cohen
                                        Law Office of Baruch C. Cohen /\PLC
  PO Box 3765                           4929 Wilshire Blvd Ste 940
  Beverly Hills, CA 90212               Los Angeles, CA 900 I 0
                                        323-937-4501

  Peter Marco LLC                       Baruch C Cohen
  252 N Rodeo Dr                        Law Office of Baruch C. Cohen APLC
  Bewverly Hills, CA 90210              4929 Wilshire Blvd Ste 940
                                        Los Angeles, CA 900 l 0
                                        323-937-4501

  Victor Franco Nova!                   Ronald N Richards
  1141 Summit Drive                     Law Offices of Ronald Richards & Assoc
  Beverly Hills, CA 90210
                                       PO Box 11480
                                       Beverly Hills, CA 90213
                                       310-556-1001
The case was assigned case number 2:20-bk-13530-BR to Judge Barry Russell.

If you would like to view the bankruptcy petition and other documents filed by the


https://ecf.cacb.circ9.dcn/cgi-bin/Notice0fFiling.pl? 1896610                   41612020
Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 44 of 88 Page ID #:142


   CM/ECF - U.S. Bankruptcy Court (v5.2. l - LIVE)                                Page 2 of2

   petitioning creditor(s) and the debtor, they are available at our Internet home page
   www.cacb.uscourts.gov or at the Clerk's Office, 255 East Temple Street,, Los Angeles,
   CA 90012.

  You may be a creditor of the debtor. !fso, you will receive an additional notice from the
  court setting forth important deadlines.


                                                               Kathleen J. Campbell
                                                               Clerk, U.S. Bankruptcy
                                                               Court




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    J. Cbapttr of thr                         Chtclont:
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               Identify the: Debtor


  U. Debtor's name                            JADELLE JEWELRY AND DIAMONDS, LLC, a Delaware limited liabili!X comeanx


  :\. Olher names you know the
                                              Jadelle Inc.
     debtor has used in Che Jast 8
     years
      Include any assumed names,
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    Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 46 of 88 Page ID #:144


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                                                                       Document      Page 2 of 12



                    Jadelle Jewelry and Diamonds, LLC                                                         Case number (lfknawn)




     6. Debtor's website (URL)


                                             [81 Corporalion (including Llmircd Liabiliiy Company (LLC) lttld Limilcd Liabilicy Partnership (LLP))
     '· Type of debtor
                                             0   Partntrship (eiccluding LLP)
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    $. Type of debtor's
                                            Check one:
       business
                                             D Health Care Business (as defined in I J U.S.C. § 101(27A))
                                             0 Single Asset Real Est.Ille (as defined in 11 U.S.C. § IOJ(SIB)J
                                             0 R.ail~d (as defined in 11 U.S.C. § f01(44))
                                            0 Stockbroker (as de lined in 11 U.S.C. § JOJ(53A))
                                            0 Commodity Broker(a.s dc(med in 11U.S.C.§101(6))
                                            0 Clearing Bank (as defined in JI U.S.C. § 731(3))
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      or affiliate of this debtor?                                                                         MMIDDIYYYV



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 •10. Venue
               Rtport About lflt Case

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                                        prineipaJ asscts in dds district longer than in &n)' other district.
                                        0    A bartk/uplcy case concerning debtor's affiliates. gcncraJ partner, or panncrship is pending in this district


 IJ. A!Jegarions                        Each pedlioner is eligible 10 Ille this pctilion under J J U.S.C. § JOJ(b).
                                        The debtor may be: \he subject of an involuntary case under 11 U.S.C. § J03(a}.

                                        Al least one box musi be checUd:

                                        18]Thc. debtor ls generally not paying il5 debts as they become due, unless lhcy ue the subjec1 of a bona tide dispute a:;
                                            to liability or amount.
                                     0      Within 120 days before the tiling of this pctiliota, a custodian, otllcr than a trustee, r«civcr, or an agent
                                            appoinicd or euthoriicd 10 take charge ofless than subsLVIUally all of the property of the debtor for lhc
                                            puroosc of cnforcine: a lien ae.ainsl such propertv, was apoointcd or rook: possess.ion.
12. Has there been a transfer
                                     ~No
    of any claim against the
    debtor by or to any
                                     0       Yes. Artach aU documents lhat evidence the tr1ns1Cr and any staci:ments required under BankNplcy Ruk
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Official Form 205                                          Involuntary PfJtillon Against a Non-Individual                                                   pa e2
 Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 47 of 88 Page ID #:145


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         Attorneys




         Daniel A. Lev

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       Ronald Richards. Esq.



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       Law Offices of RonaJd Richards&. Associates. A.P.C.

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       I        Baruch C. Cohen, Esq.


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                Law Offices of Baruch C. Cohen. APLC

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            Ronald Richards, Esq.

         ·- Law Offices of Ronald Richards & Associates, A.P.C.


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Official Form 205                                                    Involuntary PeUtlon Against a Non-lndlvlctual        page4
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                   Case 2:20-bk-13530-BR                     Doc Ii Filed 04/07/20 Entered 04/07/20 1l:25::36                                         Desc
                                                             Main Document      Page 1 of S




      I           N~me,
            Altor_ney crPany
           , Email Address
                                   Address. Telephone & FAX Nos., State Bar No. &       FOR COURT     USE ONLY

      I BARUCH C. COHEN ESQ.
      I LAW OFFICE OF BARUCH C. COHEN, APLC
       , 4929 Wilshire Blvd Ste 940
      ,I Los Angeles, CA 9001 O
     I   (323 937-4501)
         DANIEL A LEV, ESQ.
         333 S GRAND AVE STE 3400
         LOS ANGELES, CA 90071
         (213626-2311)
     I  RONALD N RICHARDS, ESQ.
  I     P.O. BOX 11480
                                                                                                                                                                  I
        BEVERLY HILLS, CA 90213 (310 556-1001)

  /0
                                                                                                                                                                  I
                                                                                                                                            --j
                Atlorney for Petitioning Creditor(s)
  I 0           Pelitioning Cred1tor(s) appearing without attorney

  r                      -----------
  L-·-----                                                UNITED STATES BANKRUPTCY COURT



  j lnre:
  1
  i JADELLE JEWELRY AND DIAMONDS,                           LLC.,
                                                                               l=
                                     CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION


                                                                                         ENO.: 20-13530BR
                                                                                         PTER 7
                                                                                                                                          ·-------~
                                                                                                                                                             ,/

 I a Delaware limiled liabilily company                                           !---                                                                __ .__J
 / dba JADELLE INC,                                                          11---~~MMONS AND NOTICE O F II
 I                                                                                               STATUS CONFERENCE IN AN
 l                                                                   Debtor(             __   :~OLUNTAR~~~NKRUPTCY CAS_E_~/
 To the above-named debtor(s):

      Pursuant to 11 u.S.C. § 303, an involuntary petition was filed on   41612020 in this bankruptcy court praying for the
 entry of an order for relief against you under chapter _7_ of title 11 of the Bankruptcy Code. A copy of the involuntary
 petition accompanies this summons.

 A status conference in the involuntary case commenced by the involuntary petition has been set for:

                      Hearing Date: 6/9/2020                       Place:
                      Time:    I b ?'->vi                          0  255 East Tempie Street, Los Angeles, CA 90012
                      Courtroom: 1668                              0  21041 Burbank Boulevard, Woodland Hills, CA 91367
                                                                   0  3420 Twelfth Street, Riverside, CA 92501
                                                                   0 411 West Fourth Street, Santa Ana, CA 92701
                                                                   D  1415 State Street. Santa Barbara, CA 93101

     II you wish to oppose the entry of an order for relief, you must file with the clerk of this court an answer to the
involuntary petition or a motion pursuant to FRBP 1011(c) within 21 days after the date of service of this summons and
attached involuntary petition, plus 3 additional days if you were served by mail. At the same time. you must also serve a
copy of the answer or motion on the petitioner's attorney (or on the petitioner. if the petitioner does not have an attorney)
at the address stated above. If you file a motion under FRPB 1011 (c). your time to answer the petition will be governed
by that rule.


                  This form is mandatory. lt has been approved for use in the United States Bankruptcy Court for the Central District of Ca~fornla.
December 2012                                                                  Page 1                                F 1010-1.SUMMONS.INVOL
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                                                    Main Document      Page 2 of S




    TO THE DEBTOR:

   IF YOU FAIL TO TIMELY FILE A RESPONSE TO THIS SUMMONS, THE BANKRUPTCY COURT MAY ENTER AN
   ORDER FOR RELIEF IN ACCORDANCE WITH 11 U.S.C. § 303(h).


   TO THE PETITIONING CREOITOR!Sl:

   IF YOU FAIL TO TIMELY SERVE THE SUMMONS ANO INVOLUNTARY PETITION ANO/OR TO FILE PROOF OF
   SERVICE OF DOCUMENT THEREOF WITH THE COURT OR TO APPEAR AT THE STATUS CONFERENCE, THIS
   INVOLUNTARY CASE MAY BE DISMISSED IN ACCORDANCE WITH LBR 1010-1.



                                                                                   KATHLEEN J. CAMPBELL
                                                                                   CLERK OF COURT



                                                                                           4----,
                                                                                  By: STACEY FORTIER
                                                                                                                  W-----
                                                                                               Deputy Clerk




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central Olstr1ct of Californla.
Decemb6'2012                                                         Page2                                  F 1010·1.SUMMONS.INVOL
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                    EXHIBIT-2
           Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 54 of 88 Page ID #:152
                      Case 1:16-cr-00389-AKH Document 84 Filed 03/03/20 Page 1 of 7
 AO 24lB (Rev. 09119)    Judgment in a Criminal Case     (form modified within District on Sept. 30, 2019)
                         Sheet I



                                               UNITED STATES DISTRICT COURT
                                                             Southern District of New York
                                                                                  )
                UNITED ST ATES OF AMERICA                                         )       JUDGMENT IN A CRIMINAL CASE
                                      v.                                          )
                             Jona Rechnitz                                        )
                                                                                  )       Case Number: 1: 16 er. 00389-01(AKH,l
                                                                                  )       USM Number: 77751-054
                                                                                  )
                                                                                  )      _A_lan_L_e_Vi_n_el A_U_S~,!A_af!!n_Sell
                                                                                                                            _____ - - + - - - - -
                                                                                  )       Defendant'siAIWnl<Y                      ;
 THE DEFENDANT:
 li1'.! pleaded guilty to count(s)         1
 0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0   was fowid guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                             Offense Ended
18 USC 1349                          Conspiracy to Commit Honest Services Wire Fraud                               61612016                   1




       The defendant is sentenced as provided in pages 2 through                _ _7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 19&4.
0 The defendant has been found not guilty on cow1t(s)
0   Count(s)
                ------------ 0                                  is     0   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chanp,e o_f name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordertd to pay restitution,
the defenilant must notify the court and United States attorney of material changes in eeonom1c circumstances.

                                                                                                                 1211912019
                                                                                             'tion of Judgment



                USDCSDNY
                                                                                              i. ~ ~r-·t- - -
                DOCUMENT
                ELECTRONICALLY FILED
                DOC#:            ,                                                          Hon. Alvin K. Hellerstein, U.S. Districl/ Judge
                                 17 0                                         Nani: and Title of Judg(\                            ,
                DATE FILED::) I?      7.-0

                                                                              Date
                                                                                  ~~"-~7              I
             Case 2:20-cv-02580-ODW-AS    Document
                        Case 1:16-cr-00389-AKH     19 Filed
                                               Document   8404/14/20   Page 55Page
                                                              Filed 03/03/20   of 882 of
                                                                                      Page
                                                                                         7 ID #:153
 AO 2458 (Rev. 09/19) Judgment in Cri1ninal Case
                         Sheet 2 - Imprisonment


     DEFENDANT: Jona Rechnitz
     CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                                              JMPRISONMENT

               The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
     total term of:
      5 months. Defendant is notified of his right to appeal.




         0    The court makes the following recommendations to the Bureau of Prisons:
              that the defendant be confined at the Lompac or Taft facility outside of Los Angeles.




         D 111e defendant is remanded to the custody of the United States Marshal.

         D The defendant shall surrender to the United Stales Marshal for this district:
              D at                                 0 a.m.       D p.m.       on

              D   as notified by the United States Marshal.

        D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D    before 2 p.m. on

             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                   RETURN
I have executed this judgment as follows:




             Defendant delivered on                                                      to

al                                                    with a certified copy of this judgment.




                                                                           By-~------~­
                                                                                                DEPUTY UNITED STATES MARSHAL
             Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 56 of 88 Page ID #:154
                        Case 1:16-cr-00389-AKH Document 84 Filed 03103120 Page 3 of 7
 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                           Judgment-Page__.=)__ of -~--
 DEFENDANT: Jona Rechnitz
 CASE NUMBER: 1: 16 er. 00389-01(AKH)
                                                        SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a tenn of:
     3 years, of which the first 5 months shall be home confinement.




                                                     MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.                                                                                                                            tf
       You must refrain from any unlawful use of a controlled substance. You must submjt to one drug test within 15 days reh:ase from
       imprisonment and at least two periodic drug tests thereafter, as detem1ined by the court.                                 .
                 ill The above drug testing condition is suspended, based on the court's detel1nination that you
                     pose a low risk of future substance abuse. (check If applicable)
4.      liZf You must make restitution in accordance with 18 U.S.C. §§ 3663 Wld 3663A or any other statute authorizing a sentence of
             restitution. (check If applicable)
s.      ~ You must cooperate in the collection of DNA as directed by the probation offieer. (check ifapplicable)
6.      D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 209!JI, el seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check Ifapplicable)
7.      D You must participate in an approved program for domestic violence. (check IfapPlicabl<)
You must comply with the standard conditions that have been adopted by tl1is court as Wfll as with any other conditions on the attached
page.
          Case 2:20-cv-02580-ODW-AS    Document
                     Case 1:16-cr-00389-AKH     19 Filed
                                            Document  84 04/14/20   Page 57Page
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                                                                                   Page
                                                                                      7 ID #:155
 AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                        S!...i 3A -Supervised Rclcl!S<
                                                                                               Judgment-Piii!" --~--; of --~--
 DEFENDANT: Jona Rechnitz
 CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in rour conduct and condition.

 I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
 2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.              .
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting J1<irmission from the
      court or the probation officer.                                                                                         i·
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you Jive with), you must notify the probation officer at least JO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least l Odays before the change. If notifying the probation officer at least l 0
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the peinnission of the
     probation officer.                                                                                                       I
9.   lfyou are arrested or questioned by a law enforcement officer, you must notify the·probation officer within 72 hoW)l.
IO. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nun4hakus or tasers).
l l. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or blformant without
     first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and pas provided me with a written C<!l'Y of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation 01i4Supervised
Release Conditions, available at: www.uscourts.gov.                                                                     1


Defendanfs Signature                                                                                    Date   ~~~~-ct--~~~~-
        Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 58 of 88 Page ID #:156
                Jud~~.t~aiJ0389-AKH Document 84 Filed 03/03/20 Page 5 of 7
A024l&(Rev. 09; 19)
                      Sheet 3D -Supervised Release
                                                                                           Judgment-Page    -¥h-   of _ J _ _
DEFENDANT: Jona Rechnitz
CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                       SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall provide the probation officer with access to any requested financial information.

2. The defendant shall not Incur new credit charges or open additional lines of credit without the approval of the probation
officer unless he/she is in compliance with the Installment payment schedule.

3. The defendant shall continue to cooperate with the U.S. Attorney's Office.

4. The defendant's duty to pay restitution in the amount of $19,000,000.00 is joint and several with co-conspirators
Nonnan Seabrook (16 Cr. 467) and Murray Huberfeld (16 Cr. 467) provided, however, that defendant Rechnitz' payments
shall be capped at $10,000,000.00. The defendant shall make payments of $500,000 per year, payable in equal monthly
installments, due on the last day of each month.

5. The defendant shall be supervised by the district of residence.
           Case 2:20-cv-02580-ODW-AS               Document 19 Filed 04/14/20 Page 59 of 88 Page ID #:157
                      ,_ Case 1 :16-cr-00389-AKH Document 84 Filed 03/03/20 Page 6 of 7
 AO 245B (Rev. 09/19)
                   I u"f>ment 1n a Cii.mrnaJ c.&se
                        Sheet S - Criminal Moncwy Penalties

    DEFENDANT: Jona Rechnitz
                                                                                                              Judgment -Page   ::Jc+    •of       7
    CASE NUMBER: 1: 16 er. 00389-01(AKH)
                                                  CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment               Restitution                  En£                      AV AA Assessment•           JVTA Assessment**
 TOTALS            $ 100.00                  s    19,000,000.00          s                         $                           $


 0     The determination ofrestitution is deferred until                           An Amended Judgment in a Criminal Case (A!) :U5C) will be
       entered after such determination.
                                                                - - - - -.

 0     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

 Norne of Payee                                                   Total Loss**•                    Restitution Ordered         Priority or Percenmge
    Correction Officers' Benevolent Association                              $19,000,000.00               $19,000,000.00
    77-10 21st Avenue
    East Elmhurst, NY i 1370




TOTALS                               s ___1_s_,_.o_o_o"'"',o-'-o_o.-'-oo'-                   19,000,000.00
                                                                                    $ ----·--r---------


0      Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid iii full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(!). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0      The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

       0   the interest requirement is waived for the           O    fine      O    restitution.

      0    the interest requirement for the         O    fine       O restitution is modified as follows:

• Amy, VickyVand Andy Child Pornography Victim Assistance Act of2018, Pub. L. No. 115-299.
••Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
• • • Findings for the total amount of losses are required under Chapters I 09A, 110, 11 OA, and l l 3A of Title I 8 for offenses committed 011
or after September 13, 1994, but before April 23, 1996.
             Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 60 of 88 Page ID #:158
 AO 2458 (&v. 09119) Judgm~Ah'~\hSbc00389-AKH Document 84 Filed 03/03/20 Page 7 of 7
                        Sheet 6 - Schedule of Payments
                                                                                                                  Judgment- Page   _.._t_     of
    DEFENDANT: Jona Rechnitz
    CASE NUMBER: 1: 16 er. 00389-01(AKH)

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      0     Lump sum payment of$ -1Q..QJ2lL                    due immediately, balance due

              0     not later than                                    , or
              0     in accordance with    0    C,    0    D,     0     E, or     O Fbelow; or

 B      0     Payment to begin immediately (may be combined with               oc,        OD, or        0    F below); or

 C      0     Payment in equal                       (e.g.. weekly, monlhly, quaner/y) installments of $                  over a periO!f of
             --------- (e.g.,     m~whs orY.ars), to commence _···--·-··-·- {e.g.,         30 or 60 days)    afu:~ the date of this judgment; or
 D      0     Payment in equal                       (e.g... weekly, monthly, quarterly) installments of $
                                                                                                       _ _ _ _ over a period of
               --~- (e.g.. monlhs or years),        to commence      _ _ _ _ _ {e.g., 30 or 60 days) after release from impris\Wnent to a
              term of supervision; or

 E      O Payment during the term of supervised release will commence within                      (e.g.. 30 or 60 day;) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay ej that time; or

 F     Ill   Special instructions regarding the payment of criminal monetary penalties:
             The defendant shall pay restitution in the amount of $10,000,000.00, joint and several with the $19,000,000.00
              restitution obligation of co-conspirators Norman Seabrook (16 Cr. 467) and Murray Huberfeld (16 Cr. 467). The
             defendant shall make payments of $500,000 per year, payable in equal monthly installments, due on the last day
             of each month.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal monetary _penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D      Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                    Joint and Several                  Corr~sponding_ Payee,
       (including defe1ui.anl number)                      Total Amount                         Amount                             if appropriate




D     The defendant shall pay the cost of prosecution.

0     The defendant shall pay the following court cost(s):

0     The defendant shall forfeit the defendant's interest in the following property to the United States:



Pa.Yn.1ents shall be aJ?plied in the following order: (J) assessment, (2) restitution principal, (3} restitution interest, (4) AVAA assessment
(5) fine principal, (b) fme interest, (7) community restitution, (8) NrA assessment, (\I) penalties, and (IO) costs, mcluding cost of          '
prosecution and court costs.                                                                                                           ·
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                    EXHIBIT-3
Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 62 of 88 Page ID #:160




      Jona Rechnitz
      9533 Sawyer Street
      Los Angeles, CA 90035
      October 16, 2019

      Honorable Alvin K Hellersteln
      United States District Court
      Southern District of New York
      500 Pearl Street
      New York, NY 10007

      Dear Judge Hellerstein:

      I am a felon. I am a criminal. I am the ONLY person to blame for that.

      I have caused tremendous pain and embarrassment to my family, my religion, and
      to myself.

      There is no way to undo what's been done. It's permanent, and for that I am truly
      sorry to everyone hurt by my crimes and actions. It eats me alive each and every
      day. When I wake up, when I go to sleep, it is always on my mind for the past 4
      years.

      My actions harmed the people of New York, The people of Correction Officers
      Benevolent Association, my friends, my family and my community. I will forever
      carry this burden, as I deserve to.

      I have read of your Honor asking at various sentencings, why do good people do
      bad things?

      In my case, not assuming I'm a good person, I can answer this question. Arrogance,
      greed, and insecurity.

      Arrogance. I felt I was above the law. At this young age in my late 20's I was busy
      accepting honors at dinners and board positions at prestigious institutions. It got to
      my head.

     Greed. I wanted to gain contacts to grow my business, to make money and gain
     stature in the long run.

     Insecurity. I wanted to gain popularity by my peers and become a big shot in my
     community and business circles.

     Shame on me.
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      Finally, I couldn't wiggle my way out of this one. It changed my life as I knew it
      forever.

      As a supposed religious man, I have been a disgrace to my religion. The only way to
      fix this is to make serving G-d my main focus for the rest of my life. I try to every
      day. I have changed as a person religiously, through prayer, my public and private
      behavior, and I always stop and think before I'm about to do something to see if it is
      something my parents, my family, and G-d would approve of.

      Making the decision to come forward was the right decision. A very tough decision
      with tremendous repercussions, but the appropriate decision. It has come with a
      hefty price. I did not foresee what I was signing up for, and it has been a brutal four
      years, but I made the right decision. I learned that doing the right thing isn't always
      the easiest, but it is the only choice. There is right and wrong and nothing in
      between. It has changed me for the better. It has forced me to change, which I
      have.

     I had to testify in three separate trials. Not an easy task. Outside of the regular
     pressures a crucial witness deals with, these circumstances were even tougher.
     There was a lot of press coverage, a lot of community pressure, and a lot of threats
     and comments made to me. The press put me on trial instead of the defendants.
     The press called me a snitch and paid more attention to me and my testimony then
     on the actual trials. They made calls to my friends, my family, and waited outside
     my home for me to walk outside.

     Parts of the community shunned me and my family. Your honor, I can not stress the
     amount of pain and suffering that we received during this time. Unimaginable pain.
     Eventually we had to leave town. Leave our lives. Leave immediately.

     Then there were the threats and private investigators after me. Threatening voice
     messages, windows smashed at home, windows smashed in my car several times
     and my parents cars on the same day at their home, people following me and sitting
     outside of my home in Los Angeles for periods of time. My wife and I were harassed
     and video taped at the mall, humiliated in our Synagogue, and embarrassed in
     public at a local LA high school charity event.

     Your Honor, there are so many examples that I am omitting as I don't want to
     portray myself as the victim here. I caused a lot of pain and harm to others through
     my criminal activity and don't want to detract from that.

     Even at various trials there were intimidation tactics. An attorney representing a
     defendant yelled at me in the hallway walking in to court and shoved the prosecutor
     when he confronted him.

     The disgusting feeling I had waking up in the morning to go to trial after trial after
     trial. Sometimes for a week and a half straight.
Case 2:20-cv-02580-ODW-AS Document 19 Filed 04/14/20 Page 64 of 88 Page ID #:162




      One of the toughest moments was when a mistrial was declared. I remember feeling
      like I wanted to tap out. But I could not. I made this decision for me and my
      beautiful family with the hope of staying together with them at the end of this
      nightmare. This has been the key factor keeping me going. My family. My amazing,
      incredible wife and my beautiful 6 children.

      The highlight of my week used to be sitting in NYPD Headquarters like a big Macher.
      Today, my highlight is walking to Synagogue with my children every week, and I let
      them know it every time we walk. When I ask them what my favorite part of the
      week is, they say, Daddy! You know the answer, but I still make them repeat it.

      Your Honor, I can now tell you proudly I am a hands-on father and husband. I am
      more of a mentsch. I was not during my criminal years. For that alone, I am grateful
      to this situation. My wife is an amazing woman. She had a bad feeling about the
      people I was hanging out with and the people I wanted to impress. She was right. I
      should have listened to her. I do now.

      I had real estate holdings which I had to give up throughout this ordeal. Many
      investors didn't want to be associated with me, nor do I blame them. In a few cases,
      some partners viewed my situation as an opportunity forcing me to give up different
      holdings and assets, taking management decisions and authority from me, ultimately
      removing me entirely. Starting to make a living again was a struggle for a period of
     time. Fortunately my wife and I started a new business endeavor, which looks
      promising. As your Honor can imagine it is hard to find a bank to work with me, so I
      have secured private loans and financing from family and friends. I finally have a
      business going that has provided stability and a way to make a living. This case has
     left me in a big financial hole - I have had to borrow millions of dollars to get this
     business going and to support my family. I am finally in a position to dedicate myself
     again to supporting my family. I don't see any way possible to start over a third
     time. I beg you to allow me to continue on this second journey of life.

     This has been a difficult time. I don't feel healthy at all. I am on anti depressant
     medication, I wake up in the middle of the night in pain and my neck and hands are
     burning, and I will forever carry this guilt.

     Family is everything to me. Cuddling with my children is everything to me. Being a
     community member and helping others is everything to me. Since this entire ordeal
     my wife gave birth to two beautiful baby girls. A decision that we made to not put
     life on hold but to continue with life in the right path and be optimistic that doing
     the right thing will not hinder our future.

     I am a changed man. I suffered a lot. I have been severely punished. My family has
     suffered a lot. I beg your Honor, please allow me to continue on the path I'm on,
     together with my family, my wife and 6 young children. They need their Daddy, I
     need my family together with me, and I promise your Honor, to continue to make
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      my family proud, my community proud, and your Honor proud.



      Jonr
      With humil~ncerity,
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                    EXHIBIT-4
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                                                                                                               1
       JCJYRECS

   1   UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
   2                                                                                   x
       ------------------···-·-------------------- .. ·-----------------------

   3   UNITED STATES OF AMERICA,

                                   v.                                                      16 CR 389   (AKH)
   4

   5   JONA RECHNITZ,

   6                                          Defendant.
                                                                                           Sentence
   7                                                                                   x
       ······---------- .. ··-- --------·--··-·····--·--------------.----···········

   8                                                                                       New York, N.Y.
                                                                                           December 20, 2019
   9                                                                                       10:15 a.m.


  10   Before:

  11
                                                        HON. ALVIN K. HELLERSTEIN,
  12
                                                                                           District Judge
  13
                                                                           APPEARANCES
  14
       GEOFFREY S. BERMAN
  15        United States Attorney for the
            Southern District of New York
  16   BY:  MARTIN S. BELL
            JESSICA LONERGAN
  17        KIMBERLY RAVENER
            LAURA POMERANTZ
  18        Assistant United States Attorneys

  19   COOLEY LLP
            Attorneys for Defendant
  20   BY:  ALAN LEVINE

  21
       Also Present:
  22   Andrew Hamilton, Government Paralegal Specialist
       Marc Klausner,                        NYPD

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   23    Joseph Downs, FBI

   24

   25




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   1   and, Judge, appearing before judges of this court,            including

   2   yourself, we either gain or          lose credibility.    My hope is that

   3   I personally have kept faith with not just a certain caliber               of

   4   advocacy but also with the truth and with the way things            really

   5   are.

   6              To the extent that I have amassed that credibility

   7   over a period of time,        I am laying it entirely on not only the

   8   quality of Mr. Rechnitz's cooperation but the value of what

   9   that means to the mechanism of justice working with respect               to

  10   future cooperators.

  11              THE COURT:       I have your point, Mr. Bell.

  12              MR. BELL:       Thank you, Judge.

  13              THE COURT:       ~r.   Levine.

  14              MR.   LEVINE:     Your Honor,    I think it might be helpful

  15   if the Court hears from Mr. Rechnitz first.

  16              THE COURT:       Sure.

  17              Mr. Rechnitz.

  18              THE   DEFENDAN~:       Your Honor,   I stand before your Honor

  19   and this court with respect for the law, tremendous remorse               for

  20   my actions and behavior, and with great humility.

  21              Growing up, my parents raised me in a very loving

  22   environment --


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   23              THE COURT:    Don't worry about the microphone,

   24   Mr.   Rechnitz.    Speak to me.   I'll hear you.

  25               THE DEFENDANT:    Growing up, my parents raised me in a




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   1   very loving environment.

                  THE COURT:     That's okay, Mr. Levine.   I can hear him.
   2


   3              Go ahead.

   4              THE DEFENDANT:     Growing up, my parents raised me in a

   5   very loving environment with an emphasis on religion and        doing

   6   the right thing.       Here I am.   I did not start off this way, and

   7   I was raised differently.

   8              I have let down my family, my parents, my in-laws,      my

   9   wife, my children, friends, and my community in a big way.         I

  10   made very poor choices, and many people have suffered       because

  11   of them.    I didn't always appreciate the fact that I had the

  12   blessing to have six beautiful children in my home and a

  13   beautiful wife.

  14              When you get into trouble, you realize the     blessings

       of life and what's important.       I took my blessings for granted.
  15

  16   I've been a real fraud to God, a fraud to my wife and family,           a

  17   fraud as an American, a fraud as a businessman, and a fraud        to

  18   the people of New York, namely, the hard-working COBA members,

  19   and I'm truly sorry for that.       My actions have hurt many

       people, and I'm very sorry for that.        I continue to pay for my
  20

  21   mistakes on a daily basis.

  22              While testifying before your Honor during the     Norman


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   23   Seabrook trial, a tape was played for       the jury.   It had

   24   recorded a conversation where I was going to attend an       Mincha

   25   prayer service as a Shiva.       Your Honor asked me to explain what




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   1   Shiva and Mincha were for    the jury.   In fact,    your Honor


   2   explained it much better than I did afterwards.

   3               At that moment is when it really hit me what a

       hypocrite I've been.     It was that exact moment.        Here I am
   4

   5   going to pray to God and visiting a mourner to comfort         them,

       and then I turn around and commit these crimes        and sins.       It is
   6

   7   not the way I was raised and not the way I was educated.


   8               While living in New York City,   I wrongly felt    pressure


   9   to become a bigshot.     I was working for one of the largest real


  10   estate companies in 2007, and it got to my head.


  11               I was in my late 20's, and big people in the real

       estate industry were dealing with me.        My ego was big, and I so
  12

  13   badly wanted to impress these people in order to advance          my


  14   career and profile.     This is where things started to spiral         out


  15   of control.     This is where I went so off the rails for a       number


  16   of years.

  17               I assure your Honor that these past years and the

       experience I've gone through has     changed me.     I will never act
  18

  19   that way again.     My family and I have been through too much.


  20               I have been forced to self-reflect, and I have

  21   identified many of my flaws in order to grow from my         mistakes.

  22   I apologize for my criminal and immoral behavior for trying            to


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   23   bribe my way through these years of my life.

  24              I left the moral way of going about business and my

  25    religious beliefs.    I bestowed gifts upon police officers in




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   1   exchange for favors in return.      I raised and contributed large

   2   sums of money for the mayor of New York City and his projects

   3   in the hope of obtaining benefit in return.

   4               I introduced Norman Seabrook and Murray Huberfeld to

   5   each other for the purposes of COBA to invest funds into

   6   Murrey's fund,   Platinum Partners, so that they could both

   7   mutually financially benefit from one another and to elevate         my

   8   status with them.

   9               I knowingly delivered a $60,000 kickback payment    to

       Norman Seabrook from Murray Huberfeld.       This corrupt bargain is
  10

  11   something that continues to haunt me.      I have struggled with

  12   how it is I let my life go astray this way and how I took leave

  13   of my adherence of the law and spirituality.

                   I've been a big hypocrite to my religion.     I failed to
  14

  15   conduct myself properly between myself and my fellow man       and

       between myself and my relationship with God.       I have strayed.
  16

  17               I did all of these horrible things without worrying

  18   about God or the consequences that come with this sort of

  19   behavior.     I cannot express to your Honor how ashamed I am for

  20   desecrating my religion.

  21               I have and will continue to repent to God every single

       day.   I have and continued to make amends.      Part of my efforts
  22

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   23   to make right included cooperating as a     first step.    I have a

   24   lot more work to do.

   25             I did the best I could for the government and told the




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   1   truth about myself, and I realize that I will have to make

   2   financially right those that I hurt.

   3              Please allow me just a few more minutes to discuss        the

       cooperation.    I hired Mr. Levine in 2016,   May 2016.    When I
   4

   5   realized that there was an investigation heating up,      I knew I

   6   had not told the truth to the New York City police officers and

   7   Internal Affairs Bureau a few months earlier.

   8              Right away, based on my initial conversations with

   9   Mr. Levine and Ms. Laura Birger, I authorized them to meet          with

  10   the assistant U.S. attorneys and begin the process of making a

  11   proffer, agreeing to plead guilty and signing a      cooperation

  12   agreement.

  13              I understood from those initial meetings with both my

  14   lawyers and the government, if I was going to cooperate with

  15   the government, I needed to be 100 percent truthful.

  16              I have been completely forthcoming in all my meetings

  17   and on the witness stand throughout three separate trials.

  18   There is not any question that I was asked that I did not

  19   answer truthfully, and there are many events and conduct that          I

  20   told the government that they did not know.

  21              Included in my early proffer sessions with the

       government -- this was in the spring of 2016.       I gave the
  22


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   23    government information about two different hard-lending

  24    businesses that I was involved in.

  25              One turned into a criminal case in which Peralta was




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   1   charged with a Ponzi scheme, and the second one also turned

   2   into a criminal case charging Nissen with the same        scheme.


   3              At the time, I was unaware these were both Ponzi

   4   schemes and, as a result, personally lost money for myself          and


   5   others.    Since then, I am more cautious and conservative in my


   6   business dealings.

   7              My financial dealings with both were a mess with         lots

   8   of transactions, paying and receiving, some on my own behalf

   9   and some on behalf of third parties,     including cash

  10   transactions.

  11              I was simply unable to sort all those transactions

  12   out, and I have yet to file a 2015 tax return.          I told my

  13   lawyers and the government about that at the time        immediately.


  14              After speaking with my accountant during 2016,      I

  15   realized I cannot file my 2015 tax returns accurately because              I

  16   did not have a handle on all the transactions, and I can't

  17   provide my accountant with complete information.

  18              The situation got more complex in 2017 for 2016

       because criminal charges were filed.      I was scheduled to
  19

  20   testify in one of the trials, and there was no way to sort out

  21   the transactions.

  22              As I testified in all three trials,    I have yet to      file


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   23   the returns for these years up through 2018.          I was sued in the

   24   Peralta bankruptcy and settled paying over $350,000 to        the

   25   state.




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   l               I have been sued in the Nissen bankruptcy, but       that

   2   has not moved forward yet, and I do not know what my exposure


   3   will be at that bankruptcy.     I understand my obligation to

   4   resolve that bankruptcy and have filed tax returns for          those


   5   years.     And I also understand the additional problems I       have

   6   created in my inability to file those returns, including          the

   7   financial consequences they will cause.

   8               This is one of several jobs that I have in the       coming

   9   months as I continue to sort out my life in a lawful path.

  10   In fact,    I will spend the rest of my life trying to make       amends

  11   for my criminal behavior.

  12               I will try to make a better name for my family,       for my


  13   religion, and for myself.     I am on the path to recovery,


  14   your Honor.     I am a better family man; I am a better friend;         I


  15   am a more religious person.     I am working again to make an


  16   honest living.

  17               Please allow me to continuing on this course

       undisrupted in order to provide for my     large family.        I really
  18

  19   want to do good, please.     I failed myself in a number of ways.

  20   I am humbly asking your Honor to stop the bleeding,        to   continue

  21   in this new business I've started in order to provide for my

  22   family and to enable me to take care of my financial


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   23   responsibilities.

   24             THE COURT:   What is the new business?      Jadelle?

  25              THE DEFENDANT:    Jadelle, yes.   I really paid a hefty




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       price for cooperating with the government for      my crimes.    Most
   1

   2   recently, the New York Post put up an article that was

   3   mentioned this morning       your Honor may not be aware --

   4   accusing me of hobnobbing and flirting with the rich and        famous

   5   at a time when I claim I am a pariah to society.

   6              In fact, Jadelle Jewelery hosted a jewelery show to

       promote the brand and new    jewelry collection.    The event was to
   7


   8   make sales and increase business.      One attendee was a Kim

   9   Kardashian, a client of Jadelle.

  10              If one were to read the article, I am portrayed as a

  11   hobnobber with no concern in the world, no remorse       whatsoever,

  12   and like a party animal.     I urge your Honor to watch the video

  13   that was attached to the article online, and your Honor will

  14   see a very different picture.

  15              Your Honor w~ll see me dressed in a suit and a tie

  16   trying to sell jewelry, no partying, no hobnobbing, just a       man

  17   trying to make an honest living.

  18              I am not here to complain about my suffering in the

  19   past few years, but I can promise your Honor I have been

  20   punished in so many ways I can't begin to describe.

  21              Within my community, within the media, and through


  22   self-introspection.     In New York City, I am persona non grata.


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   23   I am to blame.    I burnt a lot of bridges and relationships and

   24   had to relocate to California.

   25             I am so truly sorry for my behavior.        I am a changed




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                I have had years to make      this change.     It did not happen
   1   man.

   2   overnight, your Honor.        I have had four years, close to four


   3   years,   since this ordeal started.

   4               I beg your Honor, please allow me to remain with my

   5   family, my beautiful wife and children, and allow me to

   6   continue working so that I can continue to provide for them                and

   7   make good on my financial obligations.

                   I don't see any way to start over a        third time.       I'm
   8

   9   on my second chance.        Please allow me to continue on this          path.


  10   Thank you.

  11              THE COURT:      Mr. Levine.

                  MR.   LEVINE:    Your Honor,   I was just going to ask.         The
  12

  13   hour is late.      If the Court would want to take a recess,         I


  14   would certainly appreciate that.

  15              THE COURT:      It's very tempting.


  16              MR.   LEVINE:    If the Court wishes to proceed, I'd like


  17   to proceed.

  18               THE COURT:     Keep going, Mr.   Levine.


  19              MR.   LEVINE:    So,   your Honor, we're finally here for


       the day of Mr.     Rechnitz's sentence.      How did he get here.         And
  20

  21    I think an important question on the mind of the Court is               has


  22   he shown remorse.


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   23             Your Honor, we've submitted a lot of letters, and      what

   24   comes out from those letters is the personality of an

  25    individual wanting and needing to help people.




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   1               THE COURT:    I've read the letters.     They depict a

   2   person who enlarges others by charity, by friendship to          others

   3   and makes other people feel better.

   4               And yet in the life that's been depicted in this


   5   court, he cheapens people.       He works on their insecurities and

   6   their quest for material possessions and just does the


   7   opposite.     He diminishes people.


   8               How can you square both?

   9               MR. LEVINE:   Your Honor, that's what I was going to


  10   say.   So this personality that has done so much good for so

  11   many people before these events, during these events, and            since

  12   these events -- it collided with his desire to be          independent,

  13   to establish himself in Manhattan, and not to take the

  14   comfortable road going back to Los Angeles.

  15               It also collided with his desire for immediate       success

       by staying in Manhattan in his      late 20's.     It introduced him to
  16

  17   a world of Jeremy Reichberg.       And he realized in that world

  18   that with his money, he could do good for police officials            and

  19   others, to have them at his beck and call for his community and

  20   for himself.

  21               What he perceived, incorrectly, would be a      win/win,


  22   and it turned into a bad/bad.       He never should have offered


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    1                                   CERTIFICATE OF SERVICE
    2           I declare that I am a citizen of the United States and I am a resident and employed in
        Los Angeles, California; that my business address is 4929 Wilshire Boulevard, Suite 940,
    3   Los Angeles CA 90010; that I am over the age of 18 and not a party to the above-entitled
        action.
    4
                I am employed by a member of the United States District Court for the Central
    5   District of California, and at whose direction I caused service of the foregoing document
        entitled CROSS-COMPLAINT FOR: INTENTIONAL MISREPRESENTATION &
    6   FRAUD; CIVIL THEFT (PENAL CODE, § 496); EMBEZZLEMENT; CIVIL
        CONSPIRACY TO COMMIT THEFT, FRAUD, AND FRAUD BY
    7   CONCEALMENT; CONVERSION; BREACH OF CONTRACT; BREACH OF
        THE IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING;
    8   ACCOUNT STATED; & UNETHICAL BUSINESS PRACTICES IN VIOLATION
        OF CALIFORNIA BUSINESS & PROFESSIONS CODE § 17200 on all interested
    9   parties in this action by the method indicated below at the address stated below:
   10
         Anthony R Bisconti, Esq.                         Steven Jay Katzman, Esq.
   11
         Bienert Katzman PC                               Bienert Katzman PC
         601 West 5th Street Suite 720                    601 West 5th Street Suite 720
   12
         Los Angeles, CA 90071                            Los Angeles, CA 90071
         Email: tbisconti@bienertkatzman.com              Email: skatzman@bienertkatzman.com
   13
         Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
         Jason A. Levine, Esq.                            Andrew E. Erdlen, Esq.
   14    Hangley Aronchick Segal                          Hangley Aronchick Segal
         Pudlin & Schiller                                Pudlin & Schiller
   15    One Logan Square, 27th Floor                     One Logan Square, 27th Floor
         Philadelphia, PA 19103                           Philadelphia, PA 19103
   16    Email: jlevine@hangley.com                       Email: aerdlen@hangley.com
         Attorney for Plaintiff David Rovinsky LLC        Attorney for Plaintiff David Rovinsky LLC
   17
         Marc S. Williams, Esq.
   18    Cohen Williams, LLP
         724 South Spring Street, 9th Floor
   19    Los Angeles, CA 90014
         Email: mwilliams@cohen-williams.com
   20    Attorney for Jona & Rachel Rechnitz
   21   [X]       BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
                  the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
   22             Case Filing provision of the United States District Court General Order and the E-
                  Government Act of 2002, which electronically notifies all parties in this case. A pdf
   23             version of this document was also transmitted to counsel via electronic mail at the
                  email address indicated above.
   24
                I declare under penalty of perjury under the laws of the United States of America
   25   that the foregoing is true and correct. Executed on April 14, 2020 at Los Angeles,
        California.
   26
        By: /s/ Baruch C. Cohen
   27      Baruch C. Cohen
   28

        4/14-3:01pm
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